92

Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 1 of 96

EXHIBIT 8
93

Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 2 of 96

NO. 81367-1

ee FILED .
COURT OF APPEALS
DIVISIGH TH

THE SUPREME COURT
STATE OF WASHINGTON

Vv.

DEAN ROYER, PETITIONER

Court of Appeals Cause No. 37318-1

Appeal from the Superior Court of Pierce County

No. 88-1-00283-7

RESPONSE TO MOTION FOR DISCRETIONARY REVIEW,

\

i :

920 Tacoma Avenue South
Room 946

_ Tacoma, WA 98402
PH: (253) 798-7400

GERALD A. HORNE
Prosecuting Attorney

By
MICHELLE HYER

Deputy Prosecuting Attorney
WSB # 32724

rr}

94:4 ‘ ol Vii ay

oT ©
Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 3 of 96

Table of Contents

A. IDENTITY OF RESPONDENT. .........:cesccstsesssssteessesecesseeeseesnnenees i
COURT OF APPEALS DECISION. ..ssscscssssssssesssesssseessssssetessensssnees 1
C. ISSUES PRESENTED FOR REVIEW. .......ccceccscssseseeesteeteesreeneens 1

1. Has the petitioner failed to show that the Court of Appeals
committed obvious or probable error when it denied his
motion to file a late notice of appeal when the appeal period
had expired approximately 18 years earlier, he would be
appealing from entry of a guilty plea which constitutes a
valid waiver of appeal under State v. Smith, and where the
requirements of RAP 18.8(b) were not satisfied? ................ 1

2. When the petitioner allows approximately 18 years to pass
from entry of judgment, and over 14 years to pass from the
date he was terminated from supervision by the department
of corrections on a criminal conviction without seeking any
form of direct or collateral attack upon his conviction, could
the lower court have found that his conduct was “extremely
dilatory” so as to warrant forfeiture of any right to seek an
untimely direct appeal? ........ ccc eseeeeeees Veaceceneeeacenseeeatenee 1

3. Should the court retreat from the broadly worded holding of
State vy. Sweet, which always places the burden of showing
a knowing and valid waiver of the right to appeal upon the
State as that decision has proved harmful in that it offers the
prosecution no means of ensuring or protecting the finality
of a criminal judgment in the absence of a timely filed
notice Of appeal?........ ccc ceeecseesnsessssseeessesssssesseeeessensseeeeesaees ]

D. STATEMENT OF THE CASE. .........ccccesesscseeeseesseseeeerseenneeneeeneees 2

E. ARGUMENT WHY REVIEW SHOULD NOT BE ACCEPTED .4

1. UNDER THE PRINCIPLES SET FORTH IN STATE V.
SMITH THE DEFENDANT WAIVED HIS RIGHT TO

AN APPEAL 8Y ENTRY OF HIS GUILTY PLEA AND
THEREFORE THE COURT PROPERLY DENIED HIS

. MOTION TO ALLOW LATE FILING OF THE NOTICE

94
Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 4 of 96

OF APPEAL AS THE DEFENDANT DID NOT MEET
THE STANDARDS OF RAP 18.8 00... cccsceeeeeeeeeeeetereenees 4

2. THE COURT PROPERLY DENIED THE MOTION TO
EXTEND TIME TO FILE THE NOTICE OF APPEAL AS
DEFENDANT WAS SO DILATORY IN FILING HIS
NOTICE THAT HE SHOULD BE DEEMED TO HAVE

_FORFEITED ANY RIGHT TO APPEAL... cccceseeeeeees 11

3. SHOULD THIS COURT REJECT THE PREVIOUS
ARGUMENTS AS TO WHY THE COURT OF APPEALS
PROPERLY DENIED THE MOTION, THEN THE
COURT SHOULD TAKE REVIEW TO REASSESS THE
BREADTH OF THE PRINCIPLES SET FORTH IN
SWEET AND ITS PROGENY .......cccccccscsssseeereeeseeeseeeneess 12

F. CONCLUSION, .o.scccccccsccsssecescsscorscsccccecececscecevscsccecassssescseseecereseees 19

-li-
96

Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 5 of 96

Table of Authorities

State Cases
Beckman v. D.S.H.S., 102 Wn. App. 687, 695, 11 P.3d 313 (2000) seseaceeee 5

City of Seattle v. Klein, 161 Wn.2d 554, 561 n. 7,
166 P.3d 1149 (2007) 0... ee eececsececeecseeetsesseeeseesaseseesessssseesseseneaeas 11, 12

City of Tacoma v. Bishop, 82 Wn. App. 850, 859, 920 P.2d 214 (1996).11

In re Stranger Creek, 77 Wn.2d 649, 653, 466 P.2d 508 (1970) ............. 13
Reichelt v. Raymark Indus., Inc., 52 Wn. App. 763, 765,

764 P.2d 653 (1988) ......eseeeeeseereeccesecssceceseessssesessssessessssseeeseeesseseeeaes 5,6
Schaefco, Inc. v. Columbia River Gorge Comm’n, 121 Wn.2d 366, 368,

849 P.2d 1225 (1993) oe eeseeecessereecsesesssesecssessnsesseeesssssensessessesesenseenes 6
Shumway v. Payne, 136 Wn.2d 383, 964 P.2d 349 (1998) .......ceescsseeseees 5
State v. Berlin, 133 Wn.2d 541, 547-548, 947 P.2d 700 (1997)........0:00 13
State v. Carmody, 75 Wn.2d 615, 452 P.2d 959 (1969) oo... ce ceceseerseeeees 13
State v. Gregory, 74 Wn.2d 696, 446 P.2d 191 (1968)... cc seetsresneeseees 13

State v. Kells, 134 Wn.2d 309, 314, 949 P.2d 818 (1998) ....6, 7, 11, 12, 14

State v. Lucky, 128 Wn.2d 727, 912 P.2d 483 (1996) .......ccscccsseseseeeees 13
State v. Moon, 130 Wn. App. 256, 122 P.3d 192 (2005).........:ccceceeteeseeeees 6
State v. Neff, 163 Wn.2d 453, 181 P.2d 819 (2008) ...... ee seeesserseseseeeeeeeees 8

State v. Smith, 134 Wn.2d 849, 852-853, 953 P.2d 810 (1998) .....1, 4, 8,9
State v. Sodorff, 84 Wn.2d 888, 529 P.2d 1066 (1975) ......secseceseneeeees 13

State v. Sweet, 90 Wn.2d 282, 287,
581 P.2d 579 (1978) ....eccsssssesseseseseteceeeseeesessseeens 2, 7, 11, 12, 14, 15, 18

State v. Tomal, 133 Wn.2d 985, 988, 948 P.2d 833 (1997)..6, 7, 11, 12, 15

-lii -
97

Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 6 of 96

Federal and Other Jurisdictions

Custis v. United States, 511 U.S. 485, 497, 114 S. Ct. 1732,

128 L.Ed.2d 517 (1994)... cesenereceee cacecevedanaeessececsececesesseateceenas 15, 16
Daniels v. United States, 532 U.S. 374, 121 S. Ct. 1578,

149 L.Ed.2d 590 (2001).......:cccsssscesseseteesesccesnesecsseseesseasssesensassnseeaseees 16
Gonzalez v. Crosby, 545 U.S. 524, 535, 125 S. Ct. 2641,

162 L.Ed.2d 480 (2005). :.......ccccesesceceeseeseeseessseeseesesseceasensseeneeseenseneenens 18
Massaro v. United States, 538 USS. 500, 504, 123 S. Ct. 1690,

155 L.Ed.2d 714 (2003)......cccccscescsccessecceersecserseessecessstscnsssesseessesseneanea 17
Sanchez-Llamas v. Oregon, 548 U.S. 331, __, 126 S. Ct. 2669, 2685,

165 L.Ed.2d 557 (2006)........cscecseceseeteeseecteeesstesssseessecsesssersesessseuseeeasees 17
United States v. Addonizio, 442 U.S. 178, 184, n. 11, 99 S. Ct. 2235,

60 L.Ed.2d 805 (1979)......... Leeecessescesccseceseeseseecsseeeeececeeeeesessecsasesecessseaes 16
United States v. Frady, 456 U.S. 152, 164, 102 S. Ct. 158 wo. cesses 17
United States v. Goldberg,.67 F.3d 1092, 1100-01 (3d Cir. 1995)........... 11

United States v. Olano, 507 U.S. 725, 731, 113 S. Ct. 1770,
123 L.Ed.2d 508 (1993)... cessscssssssssseessescseseceteceeetessesteesseesseenes 11, 13

United States v. Timmreck, 441 U.S. 780, 784, 99 S. Ct. 2085,
60 L.Ed.2d 634 (1979)......ccccccscscsssscsscseceesecsasesssceeseeseesscssesesseessseeessaeeees 16

Yakus v. United States, 321 U.S. 414, 444, 64S. Ct. 660,
88 L.Ed.834 (1944)... cece cccsceseeseseseetseeesecssssesssssesssssscsssesseessesreneseeees 13

Constitutional Provisions

Wash. Const. art. 1, S€CtiON 22.0... eccscccsssseecesssneeeeneneetescesoesteeesssaenonsuaues 6

Statutes

RCW 10.73.090 uuu... cceecccecccccccssscccsesccsssecsssccesesseescessnecasseeessceeetessansceeaeasees 16
-ilv-
98

Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 7 of 96

Rules and Regulations

CHR T.Deccsssssscsssssesssssesnnssesesssesnnessanasseveneeuasesstuesesestseseesiisesssaseseense 14
CHR 7.2(b) scssccessssssssssssnsssessnseesnesssensseevnnssveseesveceseguasesssessssuesessinee 15
CER T.B.cccsscssssssessssnssssnesssvesscaneevcnessensesvneceuesesvessegusenessnnssseeseeessseses9
RAP 1.2(a) ssssseccsssocesessssseesesssevesenssevennesesuvassssuvsesessesscnesesesesessee seed
“RAP 13.5(b) sscsscossssssssssssssensesevenseseneevensessnuesesssusnsesisnesseveessnestaseten 4
RAP 18.8 vecscsssssssntattatiseinttutieieieietinineteentisiesinentst 4, 5, 18, 19
RAP 18.8(b) cccccsccsccscsseeensscececssecsensscecaresetsessstnessseesnssee 1, 5,6, 10, 14, 18
RAP 5.2(A) cessosssscssssssssssssseenseuensseenestnenesseessueesssveseeeuansstuesesiassiaseten 5
y-
99

Case 3:08-cv-05642-FDB Document12-3 Filed 01/05/09 Page 8 of 96

A. IDENTITY OF RESPONDENT.

The respondent is the State of Washington as represented by the
Pierce County Prosecuting Attorney’s Office.
B. COURT OF APPEALS DECISION.
The petitioner/defendant seeks review of an order issued on
February 27, 2008, by the Court of Appeals, Division II, denying
petitioner’s motion to allow a late notice of appeal.

C. ISSUE PRESENTED FOR REVIEW.

1. Has the petitioner failed to show that the Court of Appeals
committed obvious or probable error when it denied his motion to file a
late notice of appeal when the appeal period had expired approximately 18
years earlier, he would be appealing from entry of a guilty plea which
constitutes a valid waiver of appeal under State v. Smith, and where the
requirements of RAP 18.8(b) were not satisfied?

2. When the petitioner allows approximately 18 years to pass
from entry of judgment, and over 14 years to pass from the date he was
terminated from supervision by the department of corrections on a
criminal conviction without seeking any form of direct or collateral attack

upon his conviction, could the lower court have found that his conduct

-|- royerMDR[1}.doc
100

Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 9 of 96

was “extremely dilatory” so as to warrant forfeiture of any right to seek an
untimely direct apneal?

3. Should the court retreat from the broadly worded holding
of State v. Sweet, which always places the burden of showing a knowing
and valid waiver of the right to appeal upon the State as that decision has
proved harmful in that it offers the prosecution no means of ensuring or
protecting the finality of a criminal judgment in the absence of a timely
filed notice of appeal?

D. STATEMENT OF THE CASE.

On June 29, 1988, DEAN ALAN ROYER, hereinafter
“defendant,” was sentenced to 88 months of confinement following a
conviction for robbery in the first degree. Appendix “A,” Judgment and
Sentence from June 29, 1988. On July 28, 1988, the defendant filed a
notice of appeal from that judgment. Appendix “B,” Notice of Appeal
from July 28, 1988. On August 13, 1990, the Court of Appeals entered an
opinion reversing the defendant’s conviction and remanding for a new
trial. Appendix “C,” Court of Appeals Opinion. A mandate was issued on
November 26, 1990. Appendix “D,” Mandate.

On December 20, 1990, the defendant entered a plea of guilty to
robbery in the second degree. Appendix “E,” Statement of Defendant on

Plea of Guilty. The defendant was sentenced to 20 months confinement,

-2- royerMDR[1].doc
Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 10 of 96

and received credit for the 20 months he already had served. Appendix
“Fr,” Judgment and Sentence from December 20, 1990.

On February 4, 1994, the defendant was terminated from
Department of Corrections supervision. Appendix “G,” Order Modifying
Sentence from February 4, 1994. The defendant was subsequently
sentenced as a persistent offender to life in prison under Pierce County .
Cause Number 95-1-01997-0 in 1996. Appendix “H” Court of Appeals
Opinion from April 22, 2008, under #36477-8.

On February 5, 2008, the defendant filed a notice of appeal.
Appendix “T,” Notice of Appeal. The Court of Appeals denied the
defendant’s motion to allow late filing of his notice of appeal, and the
defendant now seeks review by this court. Appendix “J,” Order denying
appellant’s motion to allow late filing of a notice of appeal. The defendant
did not include the verbatim report of proceedings from the plea and
sentencing hearing with his motion. The motion was supported only by
the defendant’s own declaration. The defendant filed a motion for
discretionary review of the Court of Appeals’ order and this court has

directed the State to respond to the motion.

-3- royerMDR[1].doc

101
Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 11 of 96

E. ARGUMENT.

1. UNDER THE PRINCIPLES SET FORTH IN

STATE V. SMITH THE DEFENDANT WAIVED
HIS RIGHT TO AN APPEAL BY ENTRY OF HIS
GUILTY PLEA AND THEREFORE THE COURT
PROPERLY DENIED HIS MOTION TO ALLOW
LATE FILING OF THE NOTICE OF APPEAL AS
THE DEFENDANT DID NOT MEET THE
STANDARDS OF RAP 18.8.

Under RAP 13.5(b), this court will accept discretionary review of a
Court of Appeals interlocutory order only under the following

circumstances:

(1) if the Court of Appeals has committed an obvious error
which would render further proceedings useless; or

(2) if the Court of Appeals has committed probable error
and the decision of the Court of Appeals substantially alters
the status quo or substantially limits the freedom of a party
to act; or

(3) if the Court of Appeals has so far departed from the
accepted and usual course of judicial proceedings, or so far
sanctioned such a departure by the trial court or
administrative agency, as to call for the exercise of revisory
jurisdiction by the Supreme Court.

RAP 13.5(b).
As will be more fully discussed below, none of these
circumstances are present in this case and the motion for discretionary

review of the order denying motion to file late appeal should be denied.

-4- royerMDR{1!].doc

102
103

Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 12 of 96

In order for a criminal defendant to appeal his judgment and
sentence, he must file a notice of appeal within 30 days of the date he is
sentenced. See RAP 5.2(a). The appellate court will only in extraordinary
circumstances and to prevent a gross miscarriage of justice extend the time
within which a party must file a notice of appeal. RAP 18.8(b). The
appellate court will ordinarily hold that the desirability of finality of
decisions outweighs the privilege of a litigant to obtain an extension of
time under this section. RAP 18.8(b).

The liberal interpretation that is generally applicable to the rules of
appellate procedure, in order to promote decisions on the merits, does not
apply to RAP 18.8. RAP 1.2(a). Extraordinary circumstance has been
defined as “circumstances wherein the filing, despite reasonable diligence,
was defective due to excusable error or circumstances beyond the party’s
control. Where there has been reasonably diligent conduct, “the lost
opportunity to appeal would constitute a gross miscarriage of justice.”
Reichelt v. Raymark Indus., Inc., 52 Wn. App. 763, 765, 764 P.2d 653
(1988)(reasonable diligence shown where notice was filed within 30 days
but where there was some other procedural defect). Negligence or the
lack of reasonable diligence does not constitute an extraordinary

circumstance for purposes of RAP 18.8(b). Beckman y. D.S.H.S., 102

| Wn. App. 687, 695, 11 P.3d 313 (2000) (citing Shumway v. Payne, 136

Wn.2d 383, 964 P.2d 349 (1998)). RAP 18.8(b) is applied stringently.

Beckman at 694.

-5- royerMDR{] ].doc
104

Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 13 of 96

In State v. Moor, 130 Wn. App. 256, 122 P.3d 192 (2005), the
defendant filed a notice of appeal five days after the 30 day deadline had
expired. /d. at 260. The court found that the defendant did not meet his
burden of establishing a gross miscarriage of justice when he was seeking
to challenge his exceptional sentence. /d. at 259-261. The court, relying
on RAP 18.8(b), stated:

We apply this test rigorously. Consequently, there are very
few instances in which Washington appellate courts have
found this test was satisfied. See Reichelt v. Raymark
Indus., Inc., 52 Wn. App. 763, 765, 764 P.2d 653 (1988).
The burden is on Moon to provide “sufficient excuse for
[his] failure to file a timely notice of appeal” and to
demonstrate “sound reasons to abandon the [judicial]
preference for finality. Schaefco, Inc. v. Columbia River
Gorge Comm'n, 121 Wn.2d 366, 368, 849 P.2d 1225
(1993). Moon has failed to meet this burden here.

Moon, 130 Wn. App. 256 at 260.

Despite this stringent standard, the strict application of that filing
deadline must be balanced against a defendant’s constitutional right to
appeal. State v. Kells, 134 Wn.2d 309, 314, 949 P.2d 818 (1998). A
criminal defendant convicted in the State of Washington has a
constitutional right to appeal the conviction and sentence. Wash. Const.
art. 1, section 22; State v. Tomal, 133 Wn.2d 985, 988, 948 P.2d 833
a 997), “{T}n criminal prosecutions all defendants have a constitutional
right to appeal, and there can be no presumption in favor of waiver of a

constitutional right.” Kedls, 134 Wn.2d at 314. “Under certain

-6- royerMDR{1!].doc
105

Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 14 of 96

circumstances, inaction on the part of the defeidant may be used by the
State to prove the defendant waived the right to appeal.” Yomal, 133
Wn.2d at 990.

The State bears the burden of showing that a convicted defendant
has made a voluntary, knowing, and intelligent waiver of the right of
appeal. Tomal, 133 Wn.2d at 989. To meet this burden, the State is
required to "make some affirmative showing" that the defendant: (1)
understood his right to appeal; and (2) chose not to exercise the right.
Kells, 134 Wn.2d at 315 (citing State v. Sweet, 90 Wn.2d 282, 287, 581
P.2d 579 (1978)).

The language of a Statement of Defendant on Plea of Guilty
informs a defendant entering a guilty plea that he is waiving his right to
challenge a determination of guilt on appeal; it also informs him that he
retains his right to appeal an exceptional sentence. Appendix “E,”
Statement of Defendant on Plea of Guilty. This court has stated that under
certain circumstances the taking of a voluntary plea will show a valid

waiver of the right to appeal:

When a defendant completes a plea statement and admits to
reading, understanding, and signing it, this creates a strong
presumption that the plea is voluntary. The plea statement
in this case provides that [defendant] waived his right to
appeal the determination of guilt, and [defendant] admitted
to reading and understanding the statement in open court.
Ordinarily, this would provide sufficient evidence of a
voluntary plea and a valid waiver of the right to appeal.

-7- royerMDR{[1].doc
106

Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 15 of 96

State v. Smith, 134 Wn.2d 849, 852-853, 953 P.2d 810 (1998). As stated
by this court, the “State goes far in meeting this burden when a defendant
signs a waiver statement and admits to understanding it because doing so
“creates a strong presumption that the [waiver] is voluntary.” State v.
Neff, 163 Wn.2d 453, 181 P.2d 819 (2008), citing Smith, 134 Wn.2d at
852 (editorial brackets in original). This type of waiver was insufficient in
Smith’s case because defense counsel, in open court, expressed an
erroneous legal interpretation of the plea statement that was at odds with a
valid waiver. Smith, 134 Wn.2d at 853. In Neff; the court refused to find
a waiver because the defendant was not entering a plea, but rather a
written stipulation to facts and an agreement for a bench trial based on
those facts. The court found that the language of the stipulation was too
confusing to support a valid waiver. Neff, 163 Wn.2d 453, 181 P.3d 819
(2008), 2006 Wash. App. LEXIS 1887 at pp. 6-7'.

Here, defendant completed a standard plea form and signed the
form acknowledging that he read and understood its contents. Appendix
“EF,” Statement of Defendant on Plea of Guilty. No ambiguous or
contradictory language is included in the Statement on Plea of Guilty as
was present in the stipulation signed in Neff. Defendant did not present

the transcript of his plea and sentencing hearing to show that some

‘ A pinpoint citation to the official reporters was unavailable on Lexis at the time of
submission of this pleading.

-8- | royerMDR[1].doc
107

Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 16 of 96

erronecus legal statement, such as the one in Smith, was made below to

counteract the waiver made by entry of his plea. The conditions of Smith

_ have been met, and a valid waiver has been shown.

In addition to the evidence of waiver provided by the Statement of
Defendant on Plea of Guilty, the defendant’s actions, or, rather, lack of
action, following the entry of the plea support the conclusion that he was
making an intentional decision to waive his right to appeal by entering a
plea. For over seventeen years following his plea, defendant made no
effort to try to vacate his judgment or sentence. Even assuming defendant
felt precluded from filing an appeal, there are other methods of
challenging a guilty plea. Defendant did not file a CrR 7.8 motion in the
superior court, or a personal restraint petition with the appellate courts,
seeking relief from his plea and judgment. The defendant did nothing but
fully serve and satisfy the terms of his sentence so that he was discharged
from any further supervision and control of the Department of Corrections
under this case number in 1994, Appendix “G,” Order Modifying
Sentence. The complete lack of a challenge to his judgment and sentence
or any expression of dissatisfaction with his plea is consistent with an
intentional waiver of the right to appeal by entry of a guilty plea.

Thus, the State met its burden under Smith to show the intentional
waiver of appeal by entry of a guilty plea, and defendant has failed to
rebut that presumption. Under Smith, defendant cannot show obvious or

probable error by the Court of Appeals under these circumstances.

-9- . royerMDR{1!].doc
108

Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 17 of 96

In addition to failing to provide evidence that would rebut the
presumption that defendant intentionally waived his appeal by pleading
guilty, defendant failed to meet the requirements imposed by RAP 18.8(b).
Defendant acknowledged that RAP 18.8(b) required him to show that
“extraordinary circumstances” existed to justify an extension of time and
that he must also show that an extension was necessary to prevent a “gross
miscarriage of justice,” but he cannot make such a showing.

Defendant does not articulate any reason for a seventeen year delay
in challenging his conviction. While defendant’s declaration indicates that
he did not know that he could appeal, this does not explain his seventeen
year silence and failure to bring a collateral attack to the judgment if he
had felt that he was wrongfully convicted. In addition, prior to the entry
of defendant’s plea to the charge of robbery in the second degree, he had
successfully exercised his right to appeal on initial robbery in the first
degree charge. Moreover, defendant does not show how the denial of an
appeal will constitute a gross miscarriage of justice. He chose to enter a
guilty plea with an agreement from the State to recommend a credit for
time served sentence to a reduced charge; he received that sentence from
the court; he served his sentence and was discharged from the department
of corrections on this conviction over fourteen years ago. Appendix “F,”
Judgment and Sentence, Appendix “G,” Order Modifying Sentence,
Appendix “K,” Amended Information. He received everything that he

bargained for.

-10- royerMDR[1].doc
109

Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 18 of 96

Finally, when there is a concern about whether there has been a
knowing, voluntary, and intelligent waiver of the right to an appeal, it is
appropriate to hold an evidentiary hearing in the trial court before granting
a motion to allow late filing of a notice of appeal. State v. Kells, 134
Wn.2d 309, 949 P.2d 818 (1998)(case remanded for hearing); State v.
Tomal, 133 Wn.2d at 991 (case remanded for hearing); State v. Sweet, 90
Wn.2d at 283, 289 (court grants relief as it had record of full evidentiary
hearing and could apply proper legal standard to facts adduced below).
This court could remand for such a hearing in this case.

2. THE COURT PROPERLY DENIED THE MOTION
TO EXTEND TIME TO FILE THE NOTICE OF
APPEAL AS DEFENDANT WAS SO DILATORY
IN FILING HIS NOTICE THAT HE SHOULD BE
DEEMED TO HAVE FORFEITED ANY RIGHT
TO APPEAL.

Forfeiture is the failure to make the timely assertion of a right
whereas waiver is the intentional relinquishment or abandonment of a
known right. United States 'v. Olano, 507 U.S. 725, 733, 113 S. Ct. 1770,
123 L.Ed.2d 508 (1993). This court recently reiterated that the “very
narrow forfeiture doctrine has been held to allow waiver of a
constitutional right where the court expressly finds ‘extremely dilatory”
conduct. City of Seattle v. Klein, 161 Wn.2d 554, 561 n. 7, 166 P.3d 1149
(2007), citing City of Tacoma v. Bishop, 82 Wn. App. 850, 859; 920 Pd
214 (1996) (citing United States v. Goldberg, 67 F.3d 1092, 1100-01 (3d

Cir, 1995).

-l1l- royerMDRI!].doc
Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 19 of 96

The State submits that waiting seventeen years since entry of the
judgment and fourteen years since he was discharged from any sort of
restraint by the Department of Corrections stemming from the conviction
before filing a notice of appeal is “extremely dilatory” conduct. The State
reasonably assumed that this conviction was final many years ago. While
the State may take steps to preserve its evidence while a defendant
remains in custody, there is no reason to assume such precautions are
necessary after the defendant’s discharge. After seventeen years of
inaction, the Court of Appeals may have concluded that defendant had
forfeited any right to an appeal that he may have once held.

3. SHOULD THIS COURT REJECT THE PREVIOUS
ARGUMENTS AS TO WHY THE COURT OF
APPEALS PROPERLY DENIED THE MOTION,
THEN THE COURT SHOULD TAKE REVIEW TO
REASSESS THE BREADTH OF THE PRINCIPLES
SET FORTH IN SWEET AND ITS PROGENY.

_ If this court is not persuaded that the Court of Appeals was correct
in denying the motion to extend time to file a notice of appeal because the
State met its burden of showing a valid waiver, or because defendant
should be deemed to have forfeited his appeal by his extremely dilatory
behavior, then the court should take review to reexamine the sweeping
language found in Sweet, Tomal , Kells and City of Seattle v. Klein, about
the nature of the State’s burden when faced with a untimely notice of

appeal from a criminal defendant.

-12- royerMDR([!].doc

110
lil

Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 20 of 96

The doctrine of stare decisis establishes stability in court-made law
so that people can rely on legal principles beyond the terms of office of the
current judiciary. Otherwise “law could become subject to incautious

ction or the whims of current holders of judicial office.” In re Stranger
Creek, 77 Wn.2d 649, 653, 466 P.2d 508 (1970). The doctrine requires a
clear showing that an established rule is incorrect and harmful before it is
abandoned. Jd. This same standard is applied in criminal cases. State v.
Berlin, 133 Wn.2d 541, 547-548, 947 P.2d 700 (1997) (overruling State v.
Lucky, 128 Wn.2d 727, 912 P.2d 483 (1996) on the basis that it was both
erroneous and harmful).

‘The United States Supreme Court has held that “a constitutional
right or a right of any other sort, ‘may be forfeited in criminal as well as
civil cases by the failure to make timely assertion of the right before a
tribunal having jurisdiction to determine it.’"" United States v. Olano, 507
U.S. 725, 731, 113 S. Ct. 1770, 123 L.Ed.2d 508 (1993), citing Yakus v.
United States, 321 U.S. 414, 444, 64 S. Ct. 660, 88 L.Ed.834 (1944).

This court has previously held that in the context of direct appeals, the
rules for perfecting the appeals are mandatory and “responsibility for
compliance cannot be shifted to the ... court or to the prosecuting
attorney.” State v. Sodorff, 84 Wa.2d 888, 529 P.2d 1066 (1975) (citing

State v. Carmody, 75 Wn.2d 615, 452 P.2d 959 (1969); State v. Gregory,

74 Wn.2d 696, 446 P.2d 191 (1968)).

-13- royerMDR{[I].doc
112

Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 21 of 96

It is clear that the wording of RAP 18.8(b) is designed to impose a
heavy burden upon the person seeking an extension of time in which to
file a notice of appeal. As can be seen from defendant’s motion in this
case, the court’s prior decisions, starting with Sweet, have resulted in
motions where a criminal defendant says that he wants an untimely appeal!
and asserts that it is up to the State to show that he is not entitled to it.
There is no effort to comply with what is supposed to be a rigorous test
and a heavy burden of proof. The combined effect of the decisions cited
above makes it virtually impossible for the State to protect the finality of
its judgment when the defendant does not file a timely appeal.

In Kells, the court held that even though there was no obligation
under CrR 7.2 to inform the defendant of his right to appeal a declination
order, the State still has the burden of showing a voluntary waiver of such
aright. The State has no control over what a defense counsel does or does
not say to his client about his right to an appeal, and no power to force
such discussions. Moreover, unless the defendant claims ineffective
assistance of counsel as part of his motion to extend time to file, the
attorney-client privilege will prevent most defense counsel from providing
any statement to the prosecution regarding conversations held with a
defendant regarding the decision to appeal in the event a defendant files an
untimely motion. Thus, the State cannot protect the finality of its

judgment in this situation.

-1]4- royerMDR{1].doc
113

Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 22 of 96

The State can make sure that the defendant is read his appellate
rights under CrR 7.2(b) ai the time of sentencing, but under Sweet, this
will not guarantee finality of the judgment if the thirty day deadline is
missed. Mr. Sweet was informed of his rights at the time of sentencing in
accordance with the rule; he was told that he would lose his rights if the

notice of appeal was not filed within thirty days. This was held

. insufficient to show waiver. It would be improper for the prosecutor to

contact the defendant to see if he wants to appeal his conviction following
sentencing. While the court could inquire of defendant at the time of
sentencing whether he intends to appeal, a defendant may be undecided at
that point and wish to discuss the matter with his attorney. Under the
court rules, defendant’s trial attorney is under no obligation to file any
statement with the court regarding his client’s desire, or lack thereof, to
appeal his conviction. Moreover, under Tomal, any communication that
the State has with defendant’s counsel will not be imputed to the
defendant. The State has no means of protecting the finality of its
judgment in this situation.

It cannot be questioned that the State, the general public, and the
courts have a strong interest in the finality of criminal judgments. The
public’s confidence in the justice system is undermined by a lack of

finality in judgment and courts become further backlogged with reviewing

old cases. Custis v. United States, 511 U.S. 485, 497, 114 S. Ct. 1732,

128 L.Ed.2d 517 (1994) (“‘inroads on the concept of finality tend to

-15- royerMDR{[1}.doc
114

Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 23 of 96

undermine confidence in the integrity of our procedures’ and inevitably
delay and impair the orderly administration of justice[,]” citing United
States v. Addonizio, 442 U.S. 178, 184, n. 11, 99 S. Ct. 2235, 60 L.Ed.2d
805 (1979)). Untimely challenges to convictions based on guilty pieas are
particularly harmful due to the number of cases in our system resolved by
plea, and because the concern that unfair procedures may have resulted in
the conviction of an innocent defendant is rarely raised by efforts to set
aside a guilty plea. United States v. Timmreck, 441 U.S. 780, 784, 99 S.
Ct. 2085, 60 L.Ed.2d 634 (1979).

Every inroad on the concept of finality undermines
confidence in the integrity of our procedures; and, by
increasing the volume of judicial work, inevitably delays
and impairs the orderly administration of justice. The
impact is greatest when new grounds for setting aside
guilty pleas are approved because the vast majority of
criminal convictions result from such pleas.

Id. The United States Supreme Court has used the public’s interest in
promoting finality of judgment as a justification for limiting a criminal
defendant’s ability to collaterally attack a prior conviction in subsequent
federal criminal sentencing hearings or in a federal collateral attack.
Custis v United States, supra, Daniels v. United States, 532 U.S. 374, 121
S. Ct. 1578, 149 L.Ed.2d 590 (2001). The Legislature has enacted
provisions to limit the availability of collateral relief in order to protect the
finality of criminal convictions. RCW !0.73.090. Evidence and records

may be destroyed by the State upon belief and reliance that a criminal

-16- royerMDR[I].doc
115

Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 24 of 96

conviction is final, thereby making prosecution difficult or impossible
should the case be reopened. Witnesses and other evidence may be
unavailable for retrial. Victims and families of victims can be traumatized
by the reopening of a case thought resolved long ago. Usually, the
public’s “legitimate interest in the finality of ... [a criminal] judgment has
been perfected by the expiration of the time allowed for direct review or
by the affirmance of the conviction on appeal.” United States v. Frady,
456 U.S. 152, 164, 102 S. Ct. 1584, 71 L.Ed.2d 816 (1982). Under this
court’s decisions, there is no certainty of finality upon expiration of the

time allowed for direct review in a criminal case and that is harmful to our

justice system.

The United States Supreme Court has noted that procedural default
rules are particularly important in an adversarial system.

Procedural default rules are designed to encourage parties
to raise their claims promptly and to vindicate "the law's
important interest in the finality of judgments." Massaro’,
538 U.S., at 504, 123 S. Ct. 1690, 155 L.Ed.2d 714. The
consequence of failing to raise a claim for adjudication at
the proper time is generally forfeiture of that claim.

Sanchez-Llamas v. Oregon, 548 U.S. 331, __, 126 S. Ct. 2669, 2685,
165 L.Ed.2d 557 (2006). The strict time limit for filing an appeal and the

requirements of RAP 18.8 are designed to force prompt resolution of

? Massaro v. United States, 538 U.S. 500, 504, 123 S. Ct. 1690, 155 L.Ed.2d 714 (2003).

-17- royerMDR[I].doc
Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 25 of 96

claims, but the courts need to enforce the stringent requirement of the rule
in criminal cases when the defendant seeks untimely review.

Under the sweeping language of this court’s rulings, there can
never be a presumption of waiver, even after the passage of considerable
time. This court should be concerned about the impact the construction
given to RAP 18.8(b) and its progeny is having on the criminal justice
system. The federal system requires a similar showing of “extraordinary
circumstances” to reopen a final judgment under its procedural rules; the
Supreme Court noted that a very strict interpretation of its rule was
“essential if the finality of judgments is to be preserved." Gonzalez v.
Crosby, 545 U.S. 524, 535, 125 S. Ct. 2641, 162 L.Ed.2d 480 (2005).
Sweet and its progeny remove the teeth from RAP 18.8 and fail to provide
sufficient protection against untimely challenges to criminal convictions.
This Court should be concerned that RAP 18.8(b) provides assurance of
finality of judgment protection to every type of litigant in Washington
except for criminal prosecutors. If the court does not find that the State
has met its burden of showing a waiver based on the argument above, then
the court should take discretionary review to assess whether it needs to

retreat from the principles set forth in Sweet and its progeny.

-18- royerMDR{!].doc

116
Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 26 of 96

F, CONCLUSION.

For the foregoing reasons the State asks this Court to deny the
motion for discretionary review. As an alternative to granting review, the
Court could remand for an evidentiary hearing on whether the standard of
RAP 18.8 can be shown. If the Court does take review, then the Court
should also consider whether to retreat from its prior decisions requiring
the State to prove a criminal defendant’s knowing waiver of his right to an
appeal whenever defendant files an untimely notice of appeal. The current
state of the law does not provide sufficient assurance that the expiration of
the time to file a notice of appeal will operate as bar to a defendant’s
ability to challenge his conviction, and fails to provide the State with a
means of ensuring that an unappealed conviction will be considered a final
judgment by the courts.

DATED: June 16, 2008.

GERALD A. HORNE

Pierce County
Prosecuting Attorney

MICHELLE HYER |

Deputy Prosecuting Attorney

WSB # 32724

-19- royerMDR{1].doc

117
118

Certificate of Service:
The undersigned certifies that on this day she delivere

c/o his attomey true and correct conies of the docume: ich this certificate
is attached. This statement is certified to be true and coiieci under penalty of

perjury of the laws of the State of Washington. Signed at Tacoma, Washington,

- the GY. We Gh 4 2 S A
| Kl

-20 -

Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 27 of 96

PIUPG
‘COURT OF APPEALS
DIVISION

08 JUN 16 PH 2:32

STATE OF WASHINGION
BY

DEPUTY

royerMDR{1].doc
< Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 28 of 96

APPENDIX “A”

Judgment and Sentence

119
“Case SOS CV05642-FDB Docufient12-3. Filed 01/05/09 ~ Page-2e-0F96——
. i Ry 9 iL |

a . : af,

' ’
‘ we
.

ve; VOL odd ae 20.13

IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON

FOR THE COUNTY OF PIERCE
THE STATE OF WASHINGTON
Plaintiff,
\s. NO, ____88-1-00283-7
DEAN ALAN ROYER
Defendant. JUDGMENT AND SENTENCE

SID No, __¥AXXXXXXXX L.
M/W 12-08-67 /

This court having conducted a sentencing hearing pursuant to RCW 9.944.110 on TX UNE a4 t | IBS

upon defendant's conviction(s) of the crime(s) set.
forth below, and the court having heard from the parties and considered the presentence reparts and the records
and files herein, and otherwise being fully advised, now makes the following findings:

I. PARTIES PRESENT: Present at the sentencing hearing were the defendant, the defendant's attorney,

DAVID SHAW , Deputy Prosecuting Attorney LORI J. KENNEDY '

and

2. CURRENT OFFENSE(S): The defendant has been convicted of the following current offense(s) upon a ples

ofgatiltxsconviction by jury /verdieoofiguieyxkythexosert,on the 17th day of May ,_ 19 88

Count 1 Crime: ___ ROBBERY IN THE FIRST DEGREE
RCW: _94:56-190 & 94,56.200(1)(@)- Chime Code:

Date of Crime: 04-24-87
Incident Number: 87-114~-005
> Special Finding: _Xes__D/W
Count — Crime:
RCW. Crime Code:

Date of Crime:
Incident Number:

Special Finding:

Count Crime:
RCW: Crime Code:
Date of Crime:
Incident Number:

Special Finding:

! | Additional current offenses attached as Appendix A.

This court has jurisdiction of the defendant and the subject matter. It is ADJUDGED that the defendant ts guilty
of the current offenses set forth above.

2-2465-1 -].

6631 3719/2867 88125

120 \ - - we _

Case 3:08-cv-05642-FDB Document t2-3—Fited 01/05/09 _ Page-30-o! 96--——

- 0.335 ae2617

FINGERPRINTS
x
Fingerprint(s) of: DEAN ALAN ROYER 88-1-00283-7
Attested by: -
CLERK
By: Date:
DEPUTY CLERK
CERTIFICATE oo OFFENDER IDENTIFICATION
1, State I.D. Number ___¥AXXXXXXXX
Clerk of this court, certify that the above is a true.
copy of the J udgment and Sentence in this action Date of Birth 12-08-67
on record in my office. .
Sex Male an
Dated "
Race White 8
Clerk w
By: e
Deputy Clerk N
s
N
Z-2465-9 -5- m
oe
”
wo
a

121
122

Case 3:08-cv-05642-FDB Document 12-37 Filed 01/05/09 Page3t-of 96 —

.

i j) ij

vol dda" eceZ2O14

The following group(s) of current offenses encompassed the same criminal conduct and should be counted as one

crime in determining the offender score (RCW 9.944.400 (1):

The following counts in the information are hereby dismissed:

3. CRIMINAL HISTORY: This Court finds that the defendant has the following criminal history used in calcu-

lating the offender score pursuant to RCW 9.94A.360:
Sentencing Date Crime Adult/Juvenile Crime Date Crime Type
86-1-00107-6

j, 10-22-86 Burg 2 : Adult 01-15-86 NV
86-1-00766-2

2. 10-22-86 Burg 2 Adult 01~27~86 NV
85-~1-02875-5

3 10-18-85 Burg 2 Aduit 07-04-85 NV
87-1-01601-5

4. 99-02-87 Burg 2 Adult 05-05-87 NV
06-84-88 Escape 1 Adult 05-17-88 NV

! | The defendant's criminal history is attached in Appendix B and incorporated by reference into this Judgment
and Sentence.

4. SENTENCE DATA:

OFFENDER SERIOUSNESS MAXIMUM
SCORE LEVEL RANGE TERM
Count 1 4 Ix 51-68 months 20 yrs-LIFE

Count

Count

+ 24-24 months*
75-92 months

(*Plus 24 months minimum for deadly weapon]

{ | Presumptive data score sheet(s) is attached as Appendix C and is incorporated by reference into this judg-
ment.

5.

Z-2465-2 -2-

SENTENCE ALTERNATIVE FINDINGS:
[ | A. FIRST TIME OFFENSE: The defendant qualifies as a first-time offender pursuant to RCW 9.944.
120 (3). The first-time offender waiver isfis not used in this sentence.

f )] 8. EXCEPTIONAL SENTENCE: Substantial and compelling reasons exist which justify a sentence

above/below the standard range for count(s) . Findings of Fact and Conclusions of
Law pursuant to RCW 9.94A.120 (3) and Stipulations as to real and material facts, if any, are attached as
Appendix D,

{ 1C. SPECIAL SEXUAL OFFENDER SENTENCING ALTERNATIVE: The defendant has been convic-
ted of a felony sexual offense as specified in RCW 9.944.120 (7) (a) and is eligible for use of the special
sexual offender sentencing alternative, The defendant and the community will/will not benefit from use of
the alternative. N
o
{ 1D. SEXUAL OFFENDER TREATMENT PROGRAM: The defendant has been convicted of a felony
sexual offense, does not qualify for the special sexual offender sentencing alternative, and is to be sentenceda
to @ term of confinement of more than one year but less than six years. The defendant shall/shall not beS
ordered committed for evaluation for treatment pursuant to RCW 9.944.120 (7) (b) 3

“|

963% 37
=~. —=—_——_.

Case $:08-cv-05642- Figs Document 12-3 Ped gayonsos) Page 32 of 96

wt vn 339 ece2015

i] E. RESTITU1iCGN: Based on information concerning restitution attached in Appendix E, the defen-
dant is responsible for payment of restitution:

! / For offenses adjudicated herein pursuant to RCW 9.944.140 (1)

{ i For offenses which were not prosecuted and for which the defendant agreed to make restitution in
a plea agreement, which is attached to Appendix E.

{ | To beset by later order of court.

6. { | MONETARY PAYMENTS JUDGMENT AND SENTENCE: The defendant is ADJUDGED to be re-
sponsible for making monetary payments as stated below, within ten years, under the supervision of the Depart-
ment of Corrections. The defendant is ORDERED to make the following monetary payments:

{ | A, COSTS: Court costs in the amount of $

{X] B. VICTIM ASSESSMENT: Penalty assessment pursuant to RCW 7.68.03: g 70.0

{ 1C. RESTITUTION: Restitution payments to; (subject to modification based on failure

of co-defendants to pay):
$
$
$
$
{ J} Restitution information attached in Appendix E - - total amount ordered: $
{ 1D. RECOUPMENT: Recoupment for defense attorney's fees of $
{ 1 £. FINE: A monetary fine in the amount of $
f JF DRUG ENFORCEMENT FUND: Reimbursement in the amount of $
{ 1G. OTHER: Other costs in the amount of 3

for Ot
r $s 70 _

The above payments shail be made to the Pierce County Superior Court Clerk, 110 County-City Building, Tacoma,
Washington 98402, and the Clerk of the Court shall credit monetary payments to the above obligations in the
above listed order according to the rules of the clerk and according to the following terms:

Rd Terms to be set by defendant's Community Correction Officer.

Provided that no forfeiture proceedings are pending at the date of this order, bail or bond is exonerated,

19/289? 88127

a7

2-2465-3 -3-

8652

123 ee ce _
“¢

~* «  , Case 3: 08- -CV- 05642- sicBgpocument 12-3 Filed Gros Page 33 of 96

: 0335 ace 2616

(SENTENCE OVER ONE YEAR)

7. DETERMINATE JUDGMENT AND SENTENCE: The court having determined that no legal cause exists to
show why a further judgment should not be pronounced, it is therefore ORDERED, ADJUDGED and DECREED
the defendant serve the determinate senterce und abide b y the conditions set forth below.

The defendant is sentenced to a term of total confinement in the custody of the Department of Corrections

oS
for BS GronthsJon Count i, ______ months on Count I.
with credit for time Dh laiice te prior to this date,

(gs.tavtt F¥ -(-C73G2-8

months on Count IH,

{of the terms in counts are concurrent,

{ J] the terms in counts are consecutive, for a total term of —_.___. months.

The following appendices are attached to this Judgment and Sentence and are incorporated by this reference:

{ / Appendix A, Current Offenses

{ | Appendix B, Current History

{ | Appendix C, Sentence Scoring Worksheet(s)
f | Appendix D, Exceptional Sentence

{ | Appendix E, Restitution

ok une
DONE IN OPEN COURT this IY day of ; oY 19 SX &

FILED

tN COUNTY CLERK'S OFFICE

AM JUN 30 1988 2m

Presented by: . | Approved as to form:

Las, sta Attorney for Defendant

Z-2465-4 4.

8631 3/29/2987 88128

124 - ~
125

v et *
~&
4

Case 3:08-cv-05642-FDB Doeumentt2-3. Filed 01/05/09. Rage-34 of 96 |

ij (3
“OS suition ts OF WASHINGTON FOR PIFRCE COUNTY

335 me 2612

STATE OF WASHINGTON
Plaintiff, NO. 88~1-00283~7

vs. WARRANT OF COMMITMENT

DEAN ALAN ROYER 1) {| ] County Jail

2) Department of Corrections
3) Other - Custody
Defendant. 4) {| Western State Hospital (Sexual Offender)

THE STATE OF WASHINGTON TO THE DIRECTOR OF ADULT DETENTION OF PIERCE COUNTY

WHEREAS, Judgment has been pronounced against the defendant in the Superior Court of the State
of Washington for the County of Pierce, that the defendant be punished as specified in the Judgment and Sentence/
Order Modifying/Revoking Probation/Community Supervision, a full true and correct copy of which is attached
hereto.

[ }-l. YOU, THE DIRECTOR, ARE COMMANDED to receive the defendant for classification, confinement
and placement as ordered in the Judgment and Sentence. (Sentence of confinement in Pierce County
Jail).

Wore. YOU, THE DIRECTOR, ARE COMMANDED to take and deliver the defendant to the proper officers
of the Department of Corrections; and

YOU, THE PROPER OFFICERS OF THE DEPARTMENT OF CORRECT IONS, ARE COMMANDED
to receive the defendant for classification, confinement and placement as ordered in the Judgment and
Sentence. (Sentence of confinement in Department of Corrections custody).

{ ] 3. YOU, THE DIRECTOR, ARE COMMANDED to receive the defendant for classification, confinement
and placement as ordered in the Judgment and Sentence. (Sentence of confinement or placement not
covered by Sections I and 2 above and 4 below).

[ } 4. The defendant is committed for up to thirty (30) days evaluation at Western State Hospital to determine
amenability to sexual offender treatment.

YOU, THE DIRECTOR, ARE COMMANDED to take and deliver the defendant to the proper officers
of the State pending delivery to the proper officers of the Secretary of the Department of Social and
Health Services.

YOU, THE PROPER OFFICERS OF THE SECRETARY OF THE DEPARTMENT OF-SOCIAL AND
HEALTH SERVICES, ARE COMMANDED to receive the defendant for evaluation as ordered in the
Judgment and Sentence.

ILED icect
its CO F CLERK'S OFFICE rection of the Honorable

Dated: bes 2%, (TF3

BY,

By: Z) Zing.

cc: Prosecuting Attomey
Defendant's Lawyer
Defendant
Jail

Institutions (3)

Cert. copy délivered to Sheritt 7.2490

Oafe 7h Lib By Churdepeputy

WARRANT OF COMMITMENT

t, a's o
[7 DED DEE. oe

8631 3/19/2887 98124
Case 3:08-cv-05642-FDB _ Document 12-3 Filed 01/05/09 Page 35 of 96

APPENDIX “B”

Notice of Appeal

126
127

Nn A B® WW PP

..Case_3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 36 of 96

STATE OF WASHINGTON,

vs.

Dean flan Revver

t 2
q 3 4

e ®
342 nee 934 eiuen!

ILED
IN COUNTY CLERK'S OFFICE

IN AND FOR THE COUNTY OF PIERCE

no. $§~/-OOVP3B-7

)
)
Plaintiff, )
)
) NOTICE OF APPEAL TO
)
)
)

COURT OF APPEALS

Defendant.

TO:

THE STATE OF WASHINGTON and JOHN LADENBURG, Prosecuting

Attorney for Pierce County.

YOU,

AND EACH OF YOU, will please take notice that the above

defendant seeks review by Division II of the Court of Appeals of the
judgment of conviction rendered against him on the Qa) day of

Dupre

' 198d.

Attorney for Defendant

Department of Assigned Counsel
945 Market Street, No. 334
Tacoma, Washington 98402

48139

8631 371972887

Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 37 of 96

APPENDIX “C” —

Court of Appeals Opinion

128
129

whew ce eer

Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09. Page 38 of 96

a

of
eq

We win 253 Ow RE ee le

e 618 1783 @

IN THE COURT OF APPEALS OF THE STATE OF WASHINGTON
THE STATE OF WASHINGTON, NO. 12160-3-II
Respondent, DIVISION TWO
Vv.

DEAN ALAN ROYER,

Net eet et et et eet ed ee

Appellant. FILED: _August 13, 1990

REED, J. -- Dean Alan Royer appeals his first degree robbery
conviction. He argues that the photo montage identification
procedure was improper because he was in custody at the time the
montage was shown to the witness who identified him. Royer also
argues that both his Fifth and Sixth Amendment rights to counsel
were violated because an officer was allowed to testify regarding
his in-custody interrogation of Royer after the appointment of
counsel. We reverse.

On April 24, 1987, Kevin Bennett was working as a cashier at
a convenience store when two men entered the store. One pulled a
gun and demanded money; Bennett complied with the demand.

After the men left, ‘Bennett reported the robbery to the
police. For lack of evidence, the police did not pursue the case
until several months later when they received an anonymous tip
implicating Royer and one Grissom. Detective Werner, the officer
assigned to the case, prepared two photo montages: one including
Royer and one including Grissom.

Because Bennett then was living in Virginia, Werner contacted

Officer Dudley of the. Salem, Virginia police department, who agreed

B431 3/19/2887 98152
130

oT CASE 'S-U8-EV-05642-F DB Document 12-3 ~ Filed 01/05/09 Page 39-ef-96-.

.

qe ‘@ Gig 1785 @'

‘
12160-3-I2/2

to show the montages to Bennett. Bennett identified Royer, but not
Grissom. Royer, who was in the Shelton correctional facility at
the time, was charged with the robbery.

Royer was arraigned for the robbery on March 16, 1988, at
which time he requested and was given legal counsel. On March 17,
after reading Royer his Miranda rights, Detective Werner questioned
him at the Pierce County jail. After stating that he understood
his rights, Royer signed a waiver form. Although there was some
Giscussion with Werner concerning the fact that Royer had an
attorney, it is unclear who represented him at that time and
whether Royer had discussed the present charges with his attorney, !

At the suppression hearing Detective Werner testified that
Royer made the following statements on March 17, 1988:

(1) "I can beat this rap."

(2) “I will kill anyone who testifies against me. *

(3) "I will tell Grissom that he has nothing to worry

: about." —
(4) “I will not give you the name of the second suspect,"
The trial court denied Werner's Fifth and Sixth Amendment
motions to suppress his statements, but did rule out statements one
and two as being unduly prejudicial.

Royer also moved to suppress the montage identification,
arguing that such a procedure is impermissible when the suspect is
in custody. The court ruled that both montages could come into
evidence.

The case went to trial and the jury convicted Royer of first

degree robbery.

Sixth Amendment Right to Counsel

Defendant argues that his Sixth Amendment right to counsel was

‘At the time of the post-arraignment interrogation, Royer
was represented by assigned counsel. It is not clear that the
Same attorney represented him at arraignment.

$334 371972007 99:53
131

a en tee te Ti, RE es ve aero

go

‘

Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 40 of 96
q

@ cisivss @''

12160-3-IT/3
violated by Werner's custodiat “interrogation, and that his
statements should have been suppressed. We agree,
The Sixth Amendment right to counsel attaches when the state
lodges formal proceedings againet an accused. Arizona vy,
Rekexson, 486 U.S. 675, 100 L. Ed. 2d 704, 716, 108 S. Ct. 2093
(1988); State vy. Dictado, 102 Wn. 2d 277, 294, 687 P. 2d 172 (1984).
However, the accused must assert or exercise that right before the
police are prohibited by the Sixth Amendment from thereafter
initiating custodial questioning without the lawyer being present.
Patterson vy, Ihhinois, 467 U.S. 285, 101 L. Ed. 24 261, 108 S. Ct.
2389 (1988).2 Once exercised, the Sixth Amendment guarantees the
accused the right to rely on his counsel as a "medium" between
himself and the state. Michigan vy, Jackson, 475 U.S. 625, 632, 89
L. Eda. 20 631, 106 S. Ct. 1404 (1986). According to the Jackson
court:
if police initiate interrogation after a
defendant's assertion, at an arraignment or
similar proceeding, of his [Sixth Amendment]
right to counsel, any waiver of the defendant’ s
right to counsel for that police-initiated
interrogation is invalid.

Jackson, 475 U.S. at 636, 106 & Ct. at 1411.

Consequently, because Royer requested and received legal
counsel at his arraignment, the interrogation initiated by Werner
was improper, the waiver was invalid, and the entirety of the

conversation should have been suppressed on Royer’s motion.

Because we perceive problems with the eyewitness testimony, '

In Patterson, the right to counsel attached upon
indictment, but the defendant had not sought legal counsel before
his interrogation. Consequently, his waiver, after being given
the usual Miranda warnings, of both his Fifth and Sixth Amendment
rights was held valid.

JEyewitness Bennett was positive in his identification of
Royer but was mistaken in his identification of Grissom,
selecting another individual who was in the Pierce County jail on
the night of the robbery. Bennett conceded that he did not have
much time to’ look at either of the two assailants and@ that he was

3

863i 3419/2687 89454
oe , . _Case 3°08-CV-05642-FDB Document 12-3 Filed 01/05/09 Page 41 of 96
Coa 1m i]
4" 4 e .
. 618 178%
12160-3-11/4
we cannot conclude that the constitutional error in this case was

harmless beyond any reasonable doubt, and Royer’ s conviction must

be reversed.

Because of our holding on the Sixth Amendment, we need not

_ address Royer’s Fifth Amendment contention.

Identification Procedures

Royer also argues that it is impermiseible to use photocraphic

identification procedures when a defendant is in custody, citing

State vy. Thorkelson, 25 Wn. App. 615, 619, 611 P.2a 1278 (1980).

However, this court has declined expressly to follow Thorkel son,

reasoning as follows:

a photographic identification conducted while a defendant
is in custody, although not favored, will be suppressed
only if it is so impermissibly suggestive as to give rise
to @& very substantial likelihood of irreparable
misidentification. 2

WE CONCUR:

bck Qe fp.
oraset J.

hit over the head and knocked senseless by the unidentified
suspect.

-§631 3719-2987 88155

132
Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 42 of 96

APPENDIX “D”

Mandate from 11/26/90

133
- oF Case 3:08-cv-05642-FDB Document12-3.. Filed 01/05/09 Page 43 of 96
Tr id (i

Oo @® cigizs2 ©
IN THE COURT OF APPEALS OF THE STATE OF WASHINGTON

DIVISION Ii mont tie Dd
THE STATE OF WASHINGTON, ) No. 12160-3-1r * NOV 2 6 1990 pw.
Respondent, } WN are"
Vv, ; MANDATE
DEAN ALAN ROYER, ) Pierce County Cause No.
Appellant. } 88-1-00283-7
)
)

The State of Washington to: The Superior Court of the State of
Washington in and for Pierce County

This is to certify that the opinion of the Court of Appeals of
the State of Washington, Division II, filed on August 13, 1990,
became the decision terminating review of this court of the above
entitled case on September 13, 1990. This cause is mandated to the
superior court from which the appeal was taken for further
proceedings in accordance with the attached true copy of the opinion,

IN TESTIMONY WHEREOF, I have

hereunto set my hand and
affixed the seal of said Court

at Tacoma, this AO TH/ dey of
November, 1990.

0

Clerk of the Court/ of Appeals,
State of Washington, Div. II

Reporter of Decisions
Indeterminate Sentence Review Board

Bryan G. Hershman Chris Quinon-Brintnall
Attorney at Law Dpty Pros Attorney
2102 North 30th 946 County-City Bldg.
Tacoma, WA 98403 Tacoma, WA 98402

Judge Robert H. Peterson
Pierce County Superior Court
County-City Bldg.

Tacowe, WA 98402

8631 3/19¢20n7 98151

134
Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 44 of 96

APPENDIX “E”

Statement of Defendant on Plea of Guilty

135
136

. .Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09. Pagez
t 629 0904 gw L)
uv 7

ny
° IN THE SUPERIOR COURT OF THE STATE OF WASHINGTOA®™™ 2

FOR PIERCE COUNTY
STATE OF WASHINGTON,

Piaintiff,

vs. } NO 88-1 00agg-F
Neain Ren Cogeae STATEMENT OF DEFENDANT ON PLEA
/

OF GUILTY (Felony)

Defendant,

1, My true name is ea Ads Pe phe

2. My age is_ 2 S— , p.o, BB. d& Sof

3. | went through the LOM aie I inschool, G@.€.%,

4. | have been informed and fully understand that I have the right to representation by a lawyer and that if I cannot

afford to pay fpr a lawyer, one will be provided at no expense to me. My lawyer's name is:
Crnclo BP. Steve

5. 1 have been informed and fully understand thal 1 am charged with the crime(s) of
°

{A

The elements of the crime(s) are: On or aboukr Apart ay, L497, tA
Piawer Ce, yw, te Ai Gree Aceh rhe rr Qu

The maximum sentence(s) is (are):

LO years and $ ot 2, Ovo —

fine(s).
In addition, | understand that I may haveto pay restitution for crime(s) to which J enter a guilty plea and for any other
uncharged crime(s) for which I have agreed to pay restitution. The stapdard sentence range for the crime(s) is/are at

least Lhe BP~ 15 and no more th AG wet,
Based upon my criminal history: which I understand the Prosecutor presently knows to be:
4 a JOA Fo S —t
i 10: BR. Mp O°
ie 10 -f{£:K5> 1
u F-A-V7 1

Coco f O- a9 EE |
Olle deyr acme = Hf)

I represent to the court that my criminal history set out above is true, accurate and complete to the best of my

knowledge and belief.

{ ] Criminal history attached as appendix and incorporated by reference.
I have been given a copy of the information. ft
And I further understand that if lam a First Time Offender, the court may decide not to impose the standard sentence =
Tange, and then the court may sentence me for up to 90 days of total confinement and two years of community ®
supervision. &
6. I have been informed and fully understand that: N
(a) I have the right to a speedy and public trial by an impartial jury in the county where the crime is alleged to have been =
committed. wm
Z-2466-1 a
%
137

‘Case 3:08-cv- 05642-FDB Document 12-3 Filed 01/05/09 Page 46 of 96 ~

ee (@p 629 0905 @ i!

‘ (b) TU have the right to remain silent before and during trial, and I need not testify against rayself.
(c) {have the right to hear and question any witness wio iestifies against me.
(d) T have the right at trial to have witnesses testify for me. These witnesses can be made to appear at no expense to me.

(e) lam picsumed innocent until the charge(s) is (ar ‘oven beyond a reasonable doubt, or I enter a piea of guilty.

“gyn plead guilty, | give up therighis ia syatements (a) through (P of this paragraph.
7. i piead OA Z to the crime{s) of Bertone 3 x

QC 0
oo , as charged in the Orme information.
6. i MAKE THIS PLEA FREELY AND VOLUNTARILY.
9. No one has threatened harm of any kind to me or to any other person to cause me to make this plea.

10. No person has made rromises of any kind to cause me to enter this plea except as set forth in this statement.

Ul. }have been informed and fully understand that the Prosecuting Attorney will make the follqwing recommendations

to the court: A nro, CArA IY Sor fn fev und 72 Cartan
$/[v cP a, fi so DAC Do ype

hl KDE, nan, Crewe Sates ar AtD Dag, toe RO WD:
On—A ehonwt hd Vinee crazcbir fr dG ros.

12, [have been informed and fully understand that the standard sentencing range is based on the crime charged and my
criminal history. Criminal history includes prior convictions, whether in this state, in federal court, or elsewhere.
Criminal history also includes convictions of guilty pleas at juvenile court that are felonies and which were committed
when I was fifteen years of age or older. Juvenile convictions count only if | was less than twenty-three years of age at
the time I committed the present offense. I fully understand that if criminal history in addition to that listed in
paragraph 5 is discovered, the standard sentence range may increase. Even so, I fully understand that my plea of guilty
to this charge is binding upon me if accepted by the court, and | cannot change my mind without court approval if
additional criminal history is discovered and the standard sentence range and the Prosecuting Attorney's

recommendation increases:

I further understand that if additional criminal history is discovered the Prosecuting Attorney’s recommendation may

increase up to the high end of the new standard range and if I have been sentenced, the Prosecuting Attorney may seek

to have me resentenced based on my new criminal history.

13. I have been informed and fully understand that the court does not have to follow anyone's recommendation as to

sentence. I have been fully informed and fully understand that the court must impose a sentence within the standard
lence range unless the court finds substantial and compelling reasons not to do so. If the court goes outside the

standard sentenc i te can appeal that senten nce is within the standard sentence

range, no one can appeal the sentence. | also understand that the court must sentence to a mandatory minimum term, if
pp x

uw : . . aos
any, as provided in paragraph 14 and that the court may not vary or modify that mandatoary minimum term for any

reason.

14, | have been further advised that the crime(s) of

with which | am charged carries with it a term of total confinement of not less than NL A& years.
I have been advised that the law requires that a term of total confinement be imposed and does not permit any
modification of this mandatory minimum term, (If not applicable, any or all of this paragraph may be stricken and
initialed by the defendant and the judge).

15. I have been advised that the sentences imposed in Counts Af vit run consecutively / concurrently
unless the court finds substantial and compelling reasons to run the sentences concurrently/ consecutively.

16. l understand that if | am on probation, parole, or cor:munity supervision, a plea of guilty to the present charge(s)
will be sufficient grounds for a Judge to revoke my probation or community supervision or for the Parole Board to
revoke my parole.

Z-2466-2

cere

8631 3/13/2087 48168
138

‘

_ Gase 3:08-cv-05642-RDB Document,12-3 | Filed 01/05/09, Page 47 of 96
+ Gas ‘» 629 090 o

J ® 4

oo a .

» 17. lunderstand that if | am nota citizen of the United States, a plea of guilty to an offense punishable as a crime under
state law is grounds for deportation, exclusion from admission to the United States, or denial of naturalization
pursuant to the laws of the United States.

18. The court has asked me to state briefly in my own words what | did that resulted in my being charged with the
crime(s) in the information. This is my statement: WD wow fo pteadd Gann yty
te tnd cdvantage th fre pled. bongo — go
TL FrOALR YAW CAG BO Fr ret A
Aeon CORA aon A worl pu thor tt
A VR ASIVOwWAR (RerlLinsd 2 Convich'n—_
5 wth £40 fo tid mH LD Ant wot 6

19. [have read or have had read to me and fully understand all of the numbered sections above (1 through 19) and have

received a copy of this “Statement of Defendant on Plea of Guilty" form. I no further questions to ask of the
court.
(

4 Oe, ow)
< ,

NT
Defendant

fri i) bumll2., — Linke. S20

Deputy Prosecuting Attorne; Defendant's forney

The foregoing statement was read by or to the defendant and signed by the defendant in the presences of his or her
attorney, and the undersigned Judge, in open court. The court finds the defendant's plea of guilty to be knowingly,
intelligently and voluntarily made, that the court has informred the defendant of the nature of the charge and the
consequences of the plea, that there is a factual basis for the plea, and that the defendant is guilty as charged.

Further, the court finds that acceptance of this plea is consistent with prosecuting standards and the interests of

justice.

Dated this LO day of Dee. ,19 Z

Certificate of translator:

1 , certify that ] am fluent in the defendant's language,

, that the written statement above

has been translated by me orally/in writing and that the defendant acknowledges that he/she understands the
transjation,

I have been given a copy of the information.
2-2466-3

8631 3/19/2887 98169
Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 48 of 96

APPENDIX

Judgment and Sentence

139
140

.—- Case-3:08-cv-05642-FDB Document 12-3 Filed me) .Page 49 of 96_. __.
t 3 )

+ e @
.f

630 0183 nee 19199

Sw
IN THE SUPERTOR COURT OF THE STATE OF whSHI

IN AND FOR THE COUNTY OF PIERCE ~

STATE OF WASHINGTON,

Plaintiff, NO. 88 1 00283 7

vs. WARRANT OF COMMITMENT

1) C J unty Jail

2) ¢ Department of Correction
3) € J] Other ~- Custody

DEAN ALAN ROYER,

)
)
)
)
)
)
)
)
)
Defendant. )
)

THE STATE OF WASHINGTON TO THE DIRECTOR OF ADULT DETENTION OF PIERCE

COUNTY :
WHEREAS, Judgment has been pronounced against the defendant in the

the defendant be punished as specified in the Judgment and
Sentence/Order Modifying/Revoking Probation/Community Supervision, a
full and correct copy of which is attached hereto.

€ 79 1. YOU, THE DIRECTOR, ARE COMMANDED to receive
the defendant for classification, confinement
and placement as ordered in the Judgment and
Sentence. (Sentence of confinement in Pierce
County Jail).

A 2. YOU, THE DIRECTOR, ARE COMMANDED to take and
deliver the defendant to the proper officers
of the Department of Correctians; and

YOU, THE PROPER OFFICERS OF THE DEPARTMENT OF
CORRECTIONS, ARE COMMANDED t receive the
defendant for classification’, confinement and
Placement as ordered in the Judgment and
Sentence. (Sentence of confinement in
Department of Corrections custody).

WARRANT OF COMMITMENT - 1 Office of Prosecuting Attorney
946 County-City Building
Tacoma, Washington 98402

Telephone: 591-7400

- - - - _~ —___ -

Superior Court of the State of Washington for the County of Pierce, that

$631 3/15/2867 86179
a

eal
pag

oo ~~ a wr > W- N

—
= ©

-Gase3-08-v 05642-FDB_Decument 12.3 Filed 01/05/09. Page 50 of 96. __

. i} ij
w ;
© 630 0184 @
C ) 3. YOU, THE DIRECTOR, ARE COMMANDED to receive

the defendant for classification, confinement
and placement as ordered in the Judgment and

Sentence. (Sentence of confinement or
Placement net covered by Sections 1 and 2
above). ,

| JUDGE
TeD RulT ~

LER XK

By: Jp

DEPUTY CLERK

CERTIFIED COPY DELIVERED TO SHERIFF

patelY240 5 and Dig ppe- Pogputy

pas

WARRANT OF COMMITMENT - 2 Office of Prosecuting Attomey
946 County-City Building
Tacoma, Washington 98402
Telephone: 591-400

8631 3/19/2967 86171

ru

aba.

13

‘

"Case 3:08-cw05642-FDB-Beeument42-3—Filed 01/05/09_Page 51 of 96
. i)

® 430 0185

IN AND FOR THE COUNTY OF PIERCE

STATE OF WASHINGTON,

)
)
Plaintiff, ) NO. 88 1 00283 7
)
VS. ) JUDGMENT AND SENTENCE
)
DEAN ALAN ROYER, )
)
)
Defendant. )
) .
SID NO. WA1L3S092909 DOB: 2-8-6467 RACE/SEX: M/W

THIS COURT having conducted a sentencing hearing pursuant to RCW
9.940.110 on loi 90 140 (date), upon defendant‘s
convictian(s) of the crihe(s) set forth below, and the court having
heard from the parties and considered the presentence reports, if any,

makes the following findings:

1. PARTIES PRESENT: Present at the sentencing hearing were the
defendant, and the defendant's attorney LINDA SULLIVAN, and LORI J.
KENNEDY, Deputy Prosecuting Attorney.

2. OFFENSE(S): The defendant has been convicted of the following

etffenses(s) upon a plea of guilty, on the BO day of
Deer *en 19 Al.

COUNT I Crime: ROBBERY IN THE SECOND DEGREE
RCW: 94.56.2110 AND 9a.55.190
Date of Crime: aPRIL 24, 1987
Incident Number: TPD 87 114 005
Special Finding: X No _

This court has jurisdiction of the defendant and the subject matter.
is ADJUDGED that the defendant is guilty of the offenses set forth
above.

3. CRIMINAL HISTORY: This Court finds that the defendant has the
fallowing criminal history used in calculating the offender score
pursuant to RCW 9.940.360:

Sentencing Date Crime Adult/Juvi Crime Date and Type
1. 10-22-86 BURGLARY 2° ADULT 1-15-66 NV
2. 10-22-86 BURGLARY 2° ADULT 1-27-84 NV
3. 10-18-85 BURGLARY 2° ADULT 7-4-85 NV

4. 9-2-87 BURGLARY 2° ADULT

ERED

9-53-87 ~~
JUDGMENT AND SENTENCE -~ 1 ! THE ice of te y
ee —. fae eee . : Coun uildin; :
~~ i oma, Washington 98402

| Telephone: 591-7400

4

BMENT. 90~9-09190=-3

and the records and files herein, and otherwise being fully advised, nd

I

3
4%
>

Ww

rt

‘AG/2GB7 88472
t

‘oO os ~J “A nA ow vw

& 5

5S. 6-29-88 ESCAPE 1° ADULT 5-17-88
4, SENTENCE DATA:
OFFENDER SERIOUSNESS RANGE MAXIMUM
SCORE LEVEL TERM
Ct. I Ah 1V eS manta 10 YEARS
ct.

5. € J EXCEPTIONAL SENTENCE:

Substantial and compelling reasons exist which justify an
exceptional sentence. Findings of Fact and Conclusions of Law
attached and incorporated by reference.

Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 52 of 96
(3 {)

&. MONETARY PAYMENTS: The defendant is hereby sentenced to pay the
following legal financial obligations, together with interest thereon at

NY

are

the rate provided by law:

{C J A. RESTITUTION: Restitution payments to:
VICTIM AMOUNT :

$.

TOTAL $
C 3 Including uncharged counts per plea agreement.
C estitution by later order of the Court.

{C 1 Restitution Hearing on at

C J 8B. SPECIFIC REIMBURSEMENT COSTS: Costs under RCW
10.01.1600, 10.46.190, 36.18.040 or similar statute
for reimbursement of costs by state or county for
prosecution:

Tecoma, Washington

Telephone: 591-400

m

TYPE FOR AMOUNT =

@

mecoumttorney fees ¢_ (0 — S
Extradition .
Other Costs .
JUDGMENT AND SENTENCE - 2 oe Common wee a
wa

98402

Case-3:08-cv-05642-FDB—Document 12-3Filed 01/95/09 Page 53 of 96 . wy
i) L

«fe ® s
G30 G18?

2
3
4 TOTAL $
5 {C JC. VICTIM ASSESSMENT pursuant to RCW 7.468.035 for
6 Pierce County. $ 100.00
7})/C 1 OD. DRUG ENFORCEMENT FUND: $
gjj/f£ J &. COURT Costs: $ “Y—
rerio if€ 1 F. EINE for Pierce County $
10 $
TOTAL LEGAL FINANCIAL OBLIGATION (excluding interest)$ ATX ~~

C J Considering the defendant's financial resources and the likelihood
3 }} that his indigency will end within a reasonable time the court finds
that the defendant has an ability to pay the legal financial obligation
14 jj over the next ten years.

“45 The defendant shall pay not less than $ on or before
the first day of each month upon the legal obligations set forth above,
and shall pay the total obligation, including interest not later than

16

ten (10) years after the last date or release from confinement pursuant
77 || to a felony conviction or the date of entry of sentence.
18 All payments shall be made to the Pierce County Superior Court

Clerk, Roam 110 County-City Building, 930 Tacoma Avenue South, Tacoma,
19 || Washington 978402, unless previously collected by the Department of
Corrections or other authorized agency. The Clerk shall credit the

20 || Sbligations set forth in the order listed and make distributions
required by law and applicable regulations.

Enfarcement of this judgment and sentence pursuant to RCW
7.940.200, or otherwise, shall not limit the remedies avallable at law
to persons or entities to recoup or defray all or any sertion of loss
3 associated with felonious behavior.

24 Provided that no bail or bond forfeiture proceedings are pending at
the date of this order, bail or bond is exonerated. <

wT

25 ©

26 tw

. ’ a
eee sD q
a

28 1

N

™m

JUDGMENT AND SENTENCE - 3 Office of Prosecuting Attorney ri

946 County-City Building m

Tacoma, Washington 98402 os

Telephone: 591-400

~ - - - = -~ tote ~ —~ se...

144
Vout

145

4

14

Gase-3:08-cv-05642-FDR_ Document 12-3 Filed 01/05/09_ Page 54 of 96
() ()

‘
* .
. a ©

630 0188

SENTENCE OVER ONE YEAR

7a CONFINEMENT AND CONDITIONS: The court having determined that na
legal cause exists toa show why a further judgment should not be
pronounced, it is therefore ORDERED, ADJUDGED and DECREED the

defendant serve the sentence and abide by the conditions set

forth below.

The defendant is sentenced to a term of total confinement in th
custody of the Department of Corrections for months on
Count I, —O-—__ months on Cougt II, —O — months on
Count III, with credit for AO Aes SoyeGanthSyserved prior to
this date.

{ J the terms in counts are concurrent.
C J the terms in counts are consecutive,
for a total term of months.

{ J] Defendant to be on one (1) year community placement following
release from Department of Corrections, and to follow the rules,
regulations and directions af the Department of Corrections.
conditions of community placement are attached and incorporated by
reference.

{C J Testing is required for HIV (AIDS) virus. Separate Order is
attached.

DONE IN OPEN COURT this

Presented by:

Deputy Prosecuting Atto ney

Approved as

irs
Ci Que. w2Q get
LINDA SULLIV
Attorney for Defendant

pas

SENTENCE OVER
ONE YEAR Office of Prosecuting Atiorney
946 County-City Building
Tacoma, Washington 98402
Telephone: 591-7400

e

8631 3419/2007 96175

fae

‘ ey?

dae

rtd

28

a yOIm jr HS = i S—- Page-55 of -96 - —— —..~
Case 3:08 CV OD 6S EPR” Document $255 Fret Os70S1

©
630 0189

FINGERPRINTS

Fingerprint(s) of: DEAN ALAN ROYER Cause #88 1 002783 7

Attested by:

CLERK

By: DEPUTY CLERK

TED -RUTT

Rte: LELPOL Go

JANIE ROBERTSON

CERTIFICATE .
I,

Deputy Clerk = orenpeR IDENTIFICATION
State I1.D. #WA 13092909

Clerk of this Court, certify that
the above is a true copy of the
Judgment and Sentence in this

-action on record in my office.

Dated:
CLERK
By:
DEPUTY CLERK
pas

FINGERPRINTS

Date of Birth 2-68-67
Sex Male

Race White

Office of Prosecuting Atiorney
946 County-City Building
Tacoma, Washington 98402
Telephone: 591-400

8631 3/419°28087 GH1765
Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 56 of 96

APPENDIX “

Order Modifying Sentente from 2/4/94

147
Case nomov-oscfrigle “Document 42-3 Hees Page 57 of 96

os AVS3E%

*

=

IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON

IN AND FOR THE COUNTY OF PIERCE FEB 0 4 1994
STATE OF WASHINGTON, ,
Plaintiff, NO. SF - |- OOLFS-~ ZW
vs » . ORDER MODIFYING MO
SENTENCE ty it —
Dee A . Coner Defendant. rp . Coun?
} .

THIS MATTER coming on regularly for hearing before the above entitled court on

petition of Cla Crean , Deputy Prosecuting Attorney for Pierce County,

Washington, for an order modifying sentence heretofore granted the above named defendant on the

D0 day of Decewlee | 19972 pursuant to defendant’ s plea of gui lity to/ tsa
conviction for the charge of Relola ern ih whe Sesond Degree ih the

defendant appearing in person and being represented by MM. Qais ;

defendant’s attorney, and the State of Washington being represented by M. Can (oh (be '

Deputy Prosecuting Attorney for Pierce County, Washington, the court having examined the files and
records herein, having read said petition, and.
[ ] hearing testimony in support thereof, or; —

—
\-+ defendant having stipulated to the violation(s); rT
‘ 2

and it appearing therefrom that endant has by various acts and deeds violated the terms and
—, <>

conditions of said sentence and the court being in all things duly advised, Now, Therefore,
eg

“_——

3
ER . -
tees GOGOUWS a,

C134 Bh+GrsPHA? BMAIPA

148 a -
149

ONE FDB__Document 12-3 Filed 01/05/09 Page 58 of 96_

. Ng: Wo ag eal. 6

TT iS HEREBY ORDERED, ADJUDGED and DECREED th ent and S

ww
antedthe defendant on the oO day of Decewhy- » 19 Di is Sreby modifi modified,

and
A The defendant shall be confined for a periad not to exceed sixty days for cach
violation, for a total confinement o ys, the court having found |
violation(s).
{ ] The defendant shall receive credit for time served in the amount of _______ days

awaiting his hearing on noncompliance.
{ }] The court finding that nonpayment of monetary obligations was not wilful, the court
modified the earlier order in the following manner:
[ ]
P<. ~—- Terminate supervision qQAC .
{ ] Legal Financial Obligation Supervision Only.
Me\ Re irclicl. Gorvetston ob y tes LFOS te
B dons * ak ,-CVPw Rewrnoiiwn _ Deal gre vo me
Cow cpeudinn te al\ OMT ye anys
DONE IN OPEN COURT this Sf day of Lz 19 ze

SIGNED IN THE PRESENCE OF THE DEFENDANT.

td ck

Deputy Prosecuting Attorney

hours of community service are re-converted back to days in jail.

Gi UAL DIV.
ba eT COU

Deténse Attorney / /¥4@G

ORDER MODIFYING
SENTENCE - 2 Z-221-2

RIN. +

8631 3419/2897 88179
Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 59 of 96

APPENDIX “H”

Court of Appeals Opinion from Case No. 36477-8

150
DEAN ALAN ROYER,

Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Pab®tofse’2488 eagez

~ ANS on ny

IN THE COURT OF APPEALS OF THE STATE OF WASHINGT
DIVISION II

STATE OF WASHINGTON, No. 36477-8-II
Respondent,

Vv.

ISHED OPINION

Hunt, J. -— Dean Alan Royer appeals the trial court’s denial of his CrR 7.

challenging his 1996 sentence to life without parole under the Persistent Offender Accountability

Act! (POAA). He argues that (1) the trial court erred in ruling his motion untimely under

10.73. 1); (2) his CrR 7.8 motion was not subject to the one- i ar because the trial

court exceeded its jurisdiction when it imposed the POAA sentence in 1996; and (3) his 1996
POAA judgment and sentence was facially invalid because it depended on a 1990 strike offense

that was also facially invalid. We affirm.

' Because Royer committed these offenses on April 21, 1995, he was sentenced under former
RCW 9,94A.120(4) (1995). The Legislature has since recodified this provision as RCW,
9.94.4.505(2)(a)(v) and RCW 9.944.570,
Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 61 of 96
16284 6/9/2088 98663

36477-8-II
FACTS
I. 1996 CONVICTIONS AND SENTENCING

On April 26, 1995, the State charged Royer with first degree burglary with a deadly
weapon enhancement, unlawful possession of a firearm, second degree assault; and two counts of
first degree assault. Royer pleaded guilty to the unlawful possession of a firearm charge. A jury
found him guilty of first degree burglary with a deadly weapon enhancement and three counts of
second degree assault.

At the time of his January 22, 1996 sentencing for these offenses, Royer’s criminal
history included prior convictions for second degree robbery” and second degree assault,
Because these two prior convictions and severa] of his current convictions were “most serious
offenses” under RCW 9.94A.030(29)(a), (b), and (0), the trial court found Royer was a persistent
offender under former RCW 9.94A.120(4), and it imposed sentences of life without parole for
the first degree burglary and second degree assault convictions.’

On February 9, 1996, Royer appealed his 1996 convictions and sentences. Our court

commissioner affirmed Royer’s convictions and life sentences. The direct appeal mandated in

| August 1998.

? Royer committed the robbery in 1987. He was originally convicted of first degree robbery.
Following. a successful direct appeal of his first degree robbery conviction, State v. Royer, 58
Wn. App. 778, 794 P.2d 1325 (1990), he pleaded guilty to second degree robbery in 1999,

3 Before his 1 mg6 sentencing, Royer filed a motion asserting that the trial court should not
sentence him under the POAA because it was unconstitutional. He did not assert in this motion,
however, that his 1990 second degree robbery plea was invalid.

152
Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 62 of 96
16284:°6/9/2888 GanG4

36477-8-II
II. CRR 7.8 MOTIONS
More than eight years later, on December 27, 2006, and March 30, 2007, Royer filed
identical CrR 7.8 motions moving to modify his 1996 POAA sentences because they were based
on his 1990 second degree robbery plea, which was constitutionally invalid. He contended that -
(1) the elements set out in the statement of defendant on his 1990 plea of guilty and his statement
in the plea did not set out all of the elements of second degree robbery or establish a factual basis
-for his plea; and (2) because of this facial invalidity, his CrR 18 motions were not untimely
under RCW 10.73.100 or former CrR 7.8(a) and (b). In support of his motions, he attached
copies of his 1990 statement of defendant on plea of guilty.
This 1990 statement of defendant on plea of guilty included the following assertion:
The elements of the crime(s) are: On or about April 24, 1987, in Pierce Co., WA.,
the defendant did unlawfully and feloniously take personal property from the
person or in the presence of another against their will.
Clerk’s Papers (CP) at 28, 48. This statement also noted that Royer was pleading guilty to the
crime of second degree robbery “as charged in the amended information,” CP at 29, 49, and the
following reason for pleading guilty:
I want to plead guilty to take advantage of the plea bargain. I have reviewed the
evidence in this case and understand that there is a reasonable likelihood of

conviction should I go to trial and J] don’t want to risk that.

CP at 30, 50.

153
Case 3:08-cv-05642-FDB Documenti2-3 Filed 01/05/09 Page $3 Of 8 enna oeaEs

36477-8-II
The triai court ruled that Royer’s motions were time barred under RCW 10.73.090 aid
denied them, without addressing the merits of Royer’s arguments.’ Royer appeals the trial
court’s denial of his CrR 7.8 motions.
ANALYSIS
I. STANDARD OF REVIEW
We review a trial court’s denial of a CrR 7.8 motion for abuse of discretion. State v.
Ellis, 76 Wn. App. 391, 394, 884 P.2d 1360 (1994); State v, Aguirre, 73 Wn. App. 682, 686, 871
P.2d 616, review denied, 124 Wn.2d 1028 (1994). A trial court abuses its discretion if its
decision is manifestly unreasonable, or if it bases its decision on untenable grounds or for
untenable reasons; basing a decision on an erroneous view of the law is an abuse of discretion.
’ State v. Rohrich, 149 Wn.2d 647, 654, 71 P.3d 638 (2003); Aguirre, 73 Wn. App. at 686. Such
is the case here,
I], TIME BAR
Royer contends that the trial court erred when it concluded that his CrR 7.8 motions were
time barred. He argues that (1) because he brought these motions under CrR 7.8(b)(4) and (5),
they were not subject to the one-year limit in CrR 7.8(b); (2) the one-year time bar in RCW
10.73.090(1) does not apply because his 1996 judgment and sentence is facially invalid; and (3)

RCW i0.73.090(1) does not apply because his 1996 sentence exceeded the trial court’s

* The trial court did not transfer Royer’s CrR 7.8 motions to this court for consideration as
personal restraint petitions under former CrR 7.8(c)(2). We note that the current version of CrR
7.8(c)(2), which went into effect September 1, 2007, would have required the trial court to
transfer Royer’s motions to us for consideration as personal restraint petitions when it
determined that they were untimely.

154
Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 64 of 96

16284 6/39/2888 Geges

36477-8-Il
jurisdiction.’ Regardless of whether the one-year time limit of CrR 7.8(b) applies, Royer fails to
show that RCW 10.73.090(1) does not apply.®
A. 1996 Judgment and Sentence Not Facially Invalid
RCW 10.73.090(1) provides:
No petition or motion for collateral attack on a judgment and sentence in a
‘criminal case may be filed more than one year after the judgment becomes final”!
if the judgment and sentence is valid on its face and was rendered by a court of

competent jurisdiction.

A judgment and sentence is facially invalid if “the judgment and sentence evidences the -

' invalidity without further elaboration.” In re Pers. Restraint of Goodwin, 146 Wn.2d 861, 866,

50 P.3d 618 (2002) (citing In re Pers. Restraint of Stoudmire, 141 Wn.2d 342, 5 P.3d 1240 .
(2000); In re Pers. Restraint of Thompson, 141 Wn.2d 712, 10 P.3d 380 (2000)). There is
nothing on the face of petitioner’s 1996 judgment and sentence suggesting any facial invalidity.
We may, however, look to “related documents, i.e., charging instruments, statements of
guilty pleas, [and] jury instructions,” to determine whether a judgment and sentence is facially
invalid. Jn re Pers. Restraint of Hinton, 152 Wn.2d 853, 858, 100 P.3d 801 (2004) (citing Jn re
Pers. Restraint of Hemenway, 147 Wn.2d 529, 532, 55 P.3d 615 (2002). But even assuming we

are entitled to examine Royer’s 1990 statement pleading guilty to the second degree robbery, in

5 See RCW 10.73.100(5).

* In a footnote, Royer also asserts that when he entered his plea in 1990, he was never advised of
the one-year time limit under RCW 10.73.090(1). This assertion involves matters that are
outside the record on appeal and, therefore, we do not consider it further.

T Royer’s 1996 judgment and sentence became final when his direct appeal mandated in 1998.
RCW 10.73.090(3)(b). .
156

Case 3:08-cv-05642-FDB Documenti2-3 Filed 01/05/09 P39¢ $2 FE ones S886?

36477-8-II

order to determine the facial validity of the 1996 judgment and sentence, Royer fails to establish
that the(]99Q plea-based judgment and sentence was facially invalid,

we

At best he shows that (1) his 1990 guilty plea statement did not expressly include each

element of the offense of second degree burglaryan) (2) because it was an Alford/Newton' plea,

he never admitted to each element of the offense. But this assertion does not establish that other

documents relevant to his 1990 guilty pled, including the amended information specifically-cited—

in his 1990 guilty plea statement, did not inform him of each element of the offense or establish a

eV

factual basis for the plea. Nor does Royer show that the trial court otherwise failed to ensure that
his plea was constitutionally sufficient when it accepted his guilty plea in 1990. See State v.
Ammons, 105 Wn.2d 175, 189, 713 P.2d 719, 718 P.2d 796 (1986) (holding that the guilty plea
form did not, on its face, show that the defendant’s plea was constitutionally invalid because it
did not show that all constitutional safeguards were not provided by other means); State v. Lewis,
141 Wn. App. 367, 396-97, 166 P.3d 786 (2007) (“When challenging a guilty plea to be-used at a

later sentencing, the defendant must not only show that the plea forms were deficient, but he

_ must also show that the sentencing court deprived him of constitutional safeguards.”) (citing

State v. Gimarelli, 105 Wn. App. 370, 376, 20 P.3d 430, review denied, 144 Wn.2d 1014
(2001)); see also State v. Thompson, No. 34540-4-I, slip op. at 5-6 (Wash. Ct. App. April 8, .
2008) (claim of facial invalidity must be established on the face of judgment and sentence and

related documents alone).

8 North Carolina v. Alford, 400 U.S. 25, 91 S. Ct. 160, 27 L. Ed. 2d 162 ( 1970) (a defendant may
plead guilty while disputing the facts alleged by the prosecution); see also State v. Newton, 87
Wn.2d 363, 552 P.2d 682 (1976).

- . Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 66 of 96
16284 6/9/°2088 BeA6s

36477-8-I]

Accordingly, we hold that Royer did not establish facial invalidity of his 1996 judgment
and sentence.

B. 1996 Sentence Did Not Exceed Trial Court’s Jurisdiction

Citing RCW 10,73.100(5), Royer further asserts that, even if RCW 10.73.090(1) applies,
his claims fall under an exception to the one-year time bar. Again, we disagree.

RCW 10.73.100 provides six exceptions to the one-year time bar for challenging
judgments and sentences. The only potentially applicable exception here is RCW 10.73.100(5),
which, as Royer notes, provides that RCW 10.73.090(1) does not apply if “[t]he sentence
imposed was in excess of the court’s jurisdiction.” Royer contends that because his 1990 guilty
plea was invalid, the trial court exceeded its jurisdiction by using it to impose a POAA life
sentences for his 1996 convictions.” This argument fails.

Even assuming this assertion could theoretically establish that the trial court exceeded its
jurisdiction when it sentenced Royer in 1996, as we discuss above, Royer failed to establish that
his prior 1990 plea was invalid. Therefore, he has not shown that the trial court exceeded it

! jurisdiction when it used his 1990 judgment and sentence in 1996 to impose POAA life

sentences for his 1995 convictions.

° Royer also argues that his trial counsel was ineffective for failing to challenge the validity of
his 1990 plea when the trial court used it at his 1996 sentencing hearing. But we do not consider
this argument because, as we have discussed above, (1) Royer failed to establish that the one-
year time bar does not apply to his CrR 7.8 motions; and (2) his ineffective assistance of counsel
claim clearly does not fall under any exception to the time bar siated in RCW 10.73.100.

157
° Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 67 of 96
se 16284 6/9/2908 aBsa69

36477-8-Il

Royer having failed to show that his 1996 judgment and sentence was facially invalid or
that the trial court’s sentences exceeded its jurisdiction, we hold that the trial court did not err
when it denied Royer’s CrR 7.8 motions as untimely.

: Affirmed.

A majority of the panel having determined that this opinion will not be printed in the

Washington Appellate Reports, but will be filed for public record pursuant to RCW 2.06.040, it is

so ordered.

We concur:

Penoyar, J.

158
Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 68 of 96

APPENDIX “TI”

Notice of Appeal 2/5/08

159
Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 69 of 96
115468 2/7/2668 B6146

| i

l FILE
| ne ak | iil! IN COUNTY CLERK'S OFFICE
68-1-00283-7 29136052 NACA 02-07-08

aw, FEB 0 § 2008 pm,
aOR Sow soon

IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
TN AND FOR THE COUNTY OF PIERCE

STATE OF WASHINGTON, 4
v. NOTICE OF APPEAL
DEAN ALAN ROYER,

Defendant,

ee Nt Nt et ed et et Se

TO: Clerk of the Court, Pierce Couaty Superior Court

AND TO: Pierce County Prosecuting Attorney

Dean Alan Royer, acting pro-se, hereby notifies this court that he
appeals to the Court of Appeals, Division II, the Judgment and Sentence of
the Pierce County Superior Court No. 88-1-00283-7, entered on 20 December
1990. A copy of this decision is attached.

DATED this Ist aay of February, 2008.

Respectfully submitted,

EAbw NH

Dean Alan Royer #913359
Washington State Penitentiary
1313 North 13th Avenue

Walla Walla, Wa. 99362.

State v. Royer, No. 88-1~00283-7
NOTLCE OF APPEAL—1

160
161

1

\

“5,) have been informed and fully understand that 1 am charged with the crime(s) of

Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 70 of 96

629 0904

_ IN THE SUPERIOR COURT OF THE STATE OF WASHINGTO

FOR PIERCE COUNTY -
STATE OF WASHINGTON, ,
Plaintiff, 3
NO. Y¥- 1 0OAET-7
Nea Xl whe ae STATEMENT OF DEFENDANT ON PLEA
OF GUILTY (Felony)
Defendant.

1. My true name is Ree A Qs Dou fo

, 2, My age is ak S—. Yo, a,B.d: 8.077

3. L went through the LOE Grade in school, @-+&. d,
4, have been informed and fully understand that I have the right to representation by a lawyer and that if | cannot
afford to pay fpr a lawyer, one will be provided en expense to me, My lawyer's name is:

Cc

Aa

The elements of the crime(s) are: On or about: Apacta#, L4¢7_ ih"
Piavrr Ce, yor, tee Ar Gna Arak enters rh Qu
gogeh Che wionsty, tok spans? —pesgrpct ts
feces ths pancen occa te Speaamne ns Ht Poe
Gann fe ty ny. wor tl '

The maximum sentence(s) is (are):

LO years and $ AO, OBO =
_ ~ fine(s).
In addition, ] understand that ] may have to pay restitution for crime(s) to which | enter a guilty piea and for any other
uncharged crime(s) for which I have agreed to pay restitution. The standard sentence range for the crimes) is/are at

_ feast Ath Fe~ /5._ and no more tht. RO wre ,

tt

Based upon my criminal history, which I understand the Prosecutor presently knows to be:

ABS 10+ nr F o-
M 10+ Bo. Ce C8
te LO fF KS
a A~XxX-T7Z_1

Coco (° “ead FT
Older aene = OL

I represent to the court that my criminal history set out above Is true, accurate and complete to the best of my

knowledge and belief. .

( } Criminal history attached as appendix and incorporated by reference.
T have been given a copy of the information. ‘ ,

And I further understand that if J am a First Time Offender, the court may decide not to impose the standard sentence
range, and then the court may sentence me for up to 90 days of total confinement and two years of community .

supervision.

6. I have been informed and fully understand that:

(a) I have the right to. a speedy and public trial by an impartial jury i in the county where the crime is alleged to have been
committed.

= cern cory
162

* (g) If 1 plead guilty, I give up the rights in statements (a) through (f of this parngse 5,

Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 71 of 96
11548 Z2/7/Z866 GB1i42
629 0905

* (b) I have the right to remain silent before and during trial, and I need not testify against myself.

{c) I have the right to hear and question any witness who testifies against me.

? (d) Lhave the right at trial to have witnesses testify for me. These witnesses can be made to appear at no expense to me.

(¢) Jam presumed innocent until the charge(s) is (are) proven beyond a reasonable doubt, or fenter a plea of guilty.

(f) | have the right to appeal a determination of guilt after a frial,

a Poe 3.

7.1 plead setts : to the crime(s) of

{
Cos charged in the Gora! information. >

. 5
8. 1 MAKE THIS PLEA FREELY AND VOLUNTARILY.
9. No one has threatened harm of any kind to me or to any other person to cause me to make this plea.
10..No person has made promises of any kind to cause me to enter this plea except as set forth in this statement.
Ht. Thave been informed and fully understand that the Prosecuting Attorney will ne wing recommendations
to the court: ae K-92, cA A & tor brew fev yr 73 ct Taw
iv CVE ts, Ay Bo: bAC Lb pnt I

- SMDHLL, tnan, @A+W- a cars Dong te DP wave.
OnnA Sho ARR Veen ye. cA foe BO ros :

12, [have been informed and fully understand that the standard sentencing range is based on the crime charged and my

criminal history. Criminal history includes prior convictions, whether in this state, in federal court, or elsewhere,
Criminal history also includes convictions of guilty pleas at juvenile court that are felonies and which were committed
when I was fifteen years of age or older. Juvenile convictions count only if 1 was less than twenty-three years of age at
the time I committed the present offense. | fully understand that if criminal history in addition to that listed in
paragraph S is discovered, the standard sentence range may increase, Even so, I fully understand that my plea of guilty
to this charge is binding upon me if accepted by the court, and I cannot change my mind without court approval if
additional criminal history” is discovered and the standard sentence range and the Prosecuting. Attorney's

recommendation increases:

" tfurther understand that if additional criminal history is discovered the Prosecuting Attorney's recommendation may

increase up to the high end of the new standard range and if I have been sentenced, the Prosecuting Attorney may seek
to have me resentenced based on my new criminal history. .

13, Thave been informed and fully understand that the court does not have to follow anyone's recommendation as to
sentence. I have been fully informed and fully understand that the court must impose a sentence within the standard
sentence range unless the court finds substantial and compelling reasons not to do so. If the court goes outside the

. Standard sentence range, cither | or the stute can appeal that sentence. If the sentence is within the standard sentence

range, no one can appeal the sentence. I also'‘understand that the court must sentence toa mandatory minimum term, if
any, as provided in paragraph 14 and that the court may not vary or modify that mandatoary minimum term for any
reason.

14. have: been further advised that the crime(s) of

with which ] am charged carries with it a term of total confinement of not less than NLA years,
I have been advised that the law requires that a term of total confinement be imposed.and does not permit any
incdification of (his mandatory minimum term. (if not applicable, any or all of this paragraph may be stricken and
initialed by the defendant and the judge). .

15. I have been advised that the sentences imposed in Counts 1S / A Viran consecutively/ concurrently
untess the court finds substantial and compelling reasons to run the sentences concurrently/consecutively.

16. understand that if lam on probation, parole, or community supervision, a plea of guilty to the present charge(s)
will be sufficient grounds for a Judge to revoke my probation or community supervision or for the Parole Board to
revoke my parole,

2-2466-2
163

Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 72 of 96

. 659 O8Oy 11548 2/7/2638 66143

eli understand that if] am not acitizen of the United States, a plea of guilty to an offense punishable as acrime under
ates, or denial of naturalization |.

wee, we

siate law is grounds for deportation, exclusion from admission iv tite United St

sursuant to the laws of the. United States.

» 18, The court has asked mc ta state briefly i in my own words what J did that resulted in my being charged with the
Dw on +o pte od Fat

crimpe(s) in the information. This is my statement: :
TE teorre ven eG TK ere wh CR
Ay Chota Ah wrolur itn tow +e Lee
"tA VR AVON AL (AIC nro D geo ict wn
Srevtd Fan to tin et wo Anvruwt

atx] fu “Ff rat

19. have read or have had read to me and fully understand al! of the numbered sections above (1 through 19) and have
no further questions to ask of the

wn Hoos,

>t
”
a UV . Defendant

Mb wrote. _bitnchak. Sr kln 9

Defendant’ ‘5 Oxttorney

received a copy of this “Statement of Defendant on Plea of Guilty” form. I

court,

Deputy Prosecuting Attornef/

The foregoing statement was read by or to the defendant and signed by the defendant inthe presences of his or her
attorney, and the undersigned Judge, in open court. The court finds the defendant's plea of guilty to be knowingly,
intelligently and voluntarily made, that the court has informred the defendant of the nature of the charge and the
consequences of the plea, that there is a factual basis for the plea, and that the defendant i is guilty as charged.

Further, the court finds that acceptance of this plea is consistent with prosecuting standards and the interests of

ZO

" justice.

Dated this

Certificate of translator:
I , certify that Iam fluent inthe defendant’s language,

. - ~ itten Statement above
has been translated by me orally/in writing and that the esr at “aah at PB Meee sess. the
- entifled Court, do et certify thet this

translation.
ral instrument is, a true and correct

ITNESS WHEREOF,
hond and the Seat 9 ‘st hereunto, s¢ set my

I have been given fe wm May Of ns 2
have been given a copy of t e information. Kev 3 “i C thy) : -
Bf SEGRE INANE A ty

Z-2466-3
164

Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 73 of 96
11548 2/7/2608 BHid4g

CERTIFICATE OF SERVICE

I certify that on the isk day of February, 2008, a true and correct
copy of the foregoing NOTICE — OF APPEAL was served upon the following individual
by depositing same in the US Meil, first class, postage prepaid:

Gerald A. Horne

Pierce County Prosecutor

Pierce County Prosecutor's Office
930 Tacoma Ave. South

Tacoma, WA. 98402. A
Con. nw

Dean Alan Royer

Dean Alan Royer #913359
Washington State Penitentiary
1313 North 13th Avenue
Walla Walla, WA. 99362.
Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 74 of 96

)

Namex (nan owen. DOC #_
+ Units Aele: VS Tier A —C
Facility Name: (A £U5 by wre to mn ofa ti

Ww Ae
Address: (313 NW. \3
City: {Ti Cem , WAl
State of Washington Department of Correcuons raciiy

Eee 02 1A $ 60.179
Bast: 0004635472 FEBO1 2008
an’ MAILED FROM ZIPCODE 89362

FIAST CLASS

TO (Chek ef The Su eerion. Couch
JACOMA VA 98-402.

THIS WAS MAILED BY AN INMATE CONFINED ATA
WASHINGTON DEPARTMENT OF CORRECTIONS FA CILITY.
ITS CONTENTS MAY BE UNCENSORED
/ . S@4G2721 GS-35 CGG4G WodsvdecdecdscdUVscacebadestedass EEE beccelsbofabasdsdasassddl
Legal Vail

165
Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 75 of 96

APPENDIX “J”

Order Denying Appellant’s Motion to Allow Late Filing of a Notice of Appeal.

166
167

wid Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 76 of 96
48 1 . . :

IN THE COURT OF APPEALS OF THE STAT

DIVISION II

STATE OF WASHINGTON,

Respondent,

Vv.

DEAN ROYER,

_ Appellant.

STATE OF WASHINGTON

oN
COPY RECEIVED’

FEB 2 8 2008

GERALD A. HORNE
PIERCE COUNTY PROSECUTING ATTORNEY

APPELLATE DIVI
ORDER DENYING APPELLANT’S MOTION

TO ALLOW LATE FILING OF A NOTICE OF
APPEAL

No. 37318-1-II

APPELLANT moves for permission to file a notice of appeal in the above-referenced

matter after the deadline set forth in RAP 5.2. F ollowing consideration, the court denies the

motion. Accordingly, it is

SO ORDERED.

44480

Om

DATED hil Tey feptaru, 2008.

oo PANEL: Jj. Houghton, Bridgewater, Hunt

FOR THE COURT:

Dean Royer
DOC #913359
. Washington State Penitentiary
1313 North 13th Avenue
‘Walla Waila, WA,.99362

€ ba logllrrom-

CHIEF JUDGE

Kathleen Proctor

Pierce County Prosecuting Atty Ofc
930 Tacoma AveS Rm 946
Tacoma; WA, 98402-2171
, Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 77 of 96

APPENDIX “Kk”

Amended Information

168
169

Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09} Page 78 of 96

a @ DEC 154

IN AND FOR THE COUNTY OF PIERCE

STATE OF WASHINGTON,

Plaintiff, ) NO. 88 1 00283 7
)
vs. ) AMENDED
) INFORMATION
DEAN ALAN ROYER, )
)
Defendant. )
)

.I, JOHN W. LADENBURG, Prosecuting Attorney for Pierce County, in
the name and by the authority of the State of Washington, do accuse
DEAN ALAN ROYER of the crime of ROBBERY IN THE SECOND DEGREE,
committed as follows:

That DEAN ALAN ROYER, in Pierce County, Washington, on or about
the 24th day of April, 1987, did unlawfully and feloniously take
personal property from the person or in the presence of Kevin P.
Bennett, an employee of Arco, against such person's will by use or
threatened use of immediate force, violence, or fear of injury to such
person, contrary to RCW 4A.56.21 d_9A.56.190, and against the peace
and dignity of the State of Washington.

DATED this 20th day of December, 1990.

JOHN W. LADENBURG

Prosecuting Attorney in and for
said County and State.

pas , By: vO fs
LORI J. KENNEDY
Deputy Prosecuting Attorney
WSB #9059

ANENDED ORIGINAL
INFORMATION - 1 Office of Prosecuting Attorney

930 Tacoma Avenue South, Room 946
Tacoma, Washington 98402-2171
Main Office: (206) 591-7400

449/2G8B7 6166

3

8631

Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 79 of 96

EXHIBIT 9

170
Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 80 of 96

THE SUPREME COURT OF WASHINGTON

STATE OF WASHINGTON, NO. 81367-1
Respondent, ORDER
v. C/A NO. 37318-1-II
DEAN ALAN ROYER,
Petitioner.
)
)

Department II of the Court, composed of Chief Justice Alexander and Justices Madsen,

Chambers, Fairhurst and Stephens, considered this matter at its July 8, 2008, Motion Calendar

and unanimously agreed that the following order be entered.

IT IS ORDERED: o
That the Petitioner’s Motion for Discretionary Review is denied. 1 oe S 4
D8 we aise
a 5 Fos.
DATED at Olympia, Washington this At4 day of July,2008. 2 7 6 O=® =
For the Court AY % SO
m O
CT CHIEF JUSTICE
boon sr 1

1835/2237
Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 81 of 96

EXHIBIT 10

172
Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09, Page 82 of 96

IN THE COURT OF APPEALS OF THE STATE OF WASHINGTON

DIVISION II

STATE OF WASHINGTON, No. 37318-1-II

Respondent,

MANDATE ©
Vv.
' Pierce County Cause No.

DEAN ROYER, , 88-1-00283-7

Appellant.

The State of Washington to: The Superior Court of the State of Washington
in and for Pierce County

This is to certify that the Court of Appeals of the State of Washington, Division II,
entered a Ruling Denying Appellant's Motion to Allow Late Filing of a Notice of Appeal in the
above entitled.case on February 27, 2008. This ruling became the final decision terminating

" review of this court on July 9, 2008. Accordingly, this cause is mandated to the Superior Court
from which the appeal was ‘taken for further proceedings in accordance with the determination of
that court.

IN TESTIMONY WHEREOF, I have
hereunto set my hand and affixed the

seal of said Court at Tacoma, this
ey of July, 2008.

~ Clerk of the Court of A éals,
State of Washington, Div. II

cess 10
Baw oT IY

173
Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 83 of 96

EXHIBIT 11

174.
175

Jan 05 O98 09:43a Washington State Pen

Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 84 of 96
5095266371 pal

Jee a ek Oh 8s

QF
IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON #

IN AND FOR THE COUNTY OF PIERCE

STATE OF WASHINGTON, (
: CAUSE NO. 95-1-01997~0
Plaintiff,
JUDGMENT AND SENTENCE
VS. (FELONY - PERSISTENT OFFE

DEAN ALAN ROYER; -. -. — 1..
. Defendant.
SID NO. : waiz092909 _ AN 25 1996
LOCAL ID; Pierce Coun tons
‘I. HEARING ale
1.1 A sentencing hearing in this case was held on f-Z 2 - .

1.2 The defendant, the defendant’s lawyer, LINDA SULLIVAN, and: the

deputy prosecuting attorney, WILLIAM J. HURNEY, were present.

II. FINDINGS
. e
There being no reason why judgment should not be Pronounced, the court
FINDS:
2-1 CURRENT OFFENSES(S): The defendant was found guilty on 10/25/95 by

{[X] plea-COUNT II CX] jury—verdict—-CoOUNTS I, III, IV, v of;

Count No.: L (pacino

Crime: . BURGLARY IN THE FIRST DEGREE; Charge Code; (G1)

RCW; “9A.52.020(1) (a)

Date of Crime: 4/21/95

Incident No.: PCSD 951110308

Count No. : IL :

Crime; UNLAWFUL POSSESSION OF A FIREARM, Charge Code: (GGG25B)
RCW: . 7.41 ~.040(1)

Date of Crime: 4/21/95
Incident No.: PCSD 951110308

Count Na.: Itl

ase

JUDGMENT AND SENTENCE
(FELONY -— PERSISTENT OFFENDER} 71

Offlee of Prosecuting Attorney

46 County-City Building -

Tacoma, Washington 99402-2172
_ Telephone: $91.7¢0n -

gee ees Ae | |
ue oy
TN eee a
Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 85 of 96

66371 pe
Jan 05 09 09: 43a Washington State Pen 0852 .
We ah ES a ps
1
2
3 9F5S-1~01997~9
4 {| Count No.: 111
Crime: ASSAULT IN THE SECOND DEGREE, Charge Code: (€293
5 RCW: 2A.36.9021(1)(C) (
Date of Crime: 4/21/95
6 Incident Now; .PCSD 951110308
7 Count No.: iv . .
Crime: ' ASSAULT IN THE SECOND DEGREE, Charge Code: (E28)
8 RCW: 2A.36.021(1)(C)
" Date of Crime: 4/21/95 .
“9 Incident No.:; PCSD 951110308
ae _ 7S 1110508
19 f Count No.; Vv
° Crime: ASSAULT IN THE SECOND DEGREE , Charge Code: (E28)
11 RCW: 2A.36.021(1)(C) .
Date of Crime; 4/21/95 .
12 Incident No.: PCED 95-11103098
13
14
8 1 Additional current offenses are attached in Appendix 2.1,
16- A special verdict/ finding for use of deadly weapon Was returned
on Count(s)} °
wf © 1) A special verdict/finding Of Sexual motivation was returne®@ an
Count(s),.
18 C 7 A Special verdict/finding of a RCW 69.50.401(a) violation in a
school bus, public transit vehicle, public Fark, public transit
19 shelter or within 1000 feet of a school bus route stop or the
| perimeter Of a schoo) grounds (RCW 69.50.435),
26 { J] Other current convictions listed under different cause numbars
used in Calculating the Offender score are (list offense and cause
“44 number ):
22
3 - € 3) Current offenses ENncoMmpPassing the same Criminal conduct and
counting as one crime in determining the cffender score are (RCW
24 7-P4A.400(1)):
25 2.2 CRIMINAL HISTORY: Priar convictians constituting criminal histary
6 for purposes of Calculating the offender score are CROW
7.940.360):
a7 Sentencing Adult or Bate of Crime
8 Crime Date : Juv. Crime Crime Type

176

JUDGMENT AND SENTENCE
(FELONY) -— 2 .

Olfice of Prosecating Atturney
346 County-City Building
Tacoma, Washlogton 98d02.2174
Telenfione: £91.7400 :
177

Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 86 of 96

a
Jan G5 GS 09:43a Washington State Pen 50852663971 P
, A a dodh ich ONS
1
2
935~-1~01997-0
3
BURG 2 (2x) 10/16/85 A 7/85 NV
4 BURG 2 (2x) 10/22/84 a 1/86 NV
BURG 2. 9/2/87 A 5/5/87 NV
5 ESC 1 6/29/89 A 1985 NV
ROBB 2 12/20/90 A 4/24/87 v
" 6 f upcs 9/LEs91 A &/20/91 NV
ASLT 2 , 9/18/91 A F/OS9L v
7 BURG 1 wsDwW CURRENT A 4/21/95 Vv
UPF CURRENT A 4/21/95 NV
8 | ASLT 2 CURRENT A 4/21/95 ve
ASLT 2 , CURRENT A 4/21/95 Vv
9 ASLT 2 CURRENT A 4/21/95 Vv
10 EC] Additional crimina) history is attached in Appendix 2.2.
€ J Prior convictions served concurrently and counted as one offense
ik in determining the offender score are (RCW 9.94A.360(11))1
* 12
2.3 SENTENCING DATA:
3 .
Offender Seriousness Range Maximum
14 Score Level Months Years
13] Count No. T: 19 VII - LIFE W/O PAROLE +1i9ms
Count No. IT: il ITE 51-48 3
16 || Count No. ITI; 14 Tv LIFE W/O PAROLE
Count Na. IV: 16 “[y LIFE W/O PAROLE
17 {| Count No. V: 14 Iv LIFE W/Q PAROLE *
” 18
(XI The current effense is a most serious offense as defined in
19 RCW 9.944.030, and the defendant is a persistent at fender,
resultingin a sentence range of life without Parole,
20
{ Jj Additional current offense sentencing data is
21 attached in Appendix 2.3. :
22
2.4 EXCEPTIONAL SENTENCE:
23
5 CX] For violent affenses, serious violent offenses, most serious
” 24 offenses, or any felony with a deadly weapon Special verdict under
RCW 9.94A,125; any felony with any deadly weapon enhancements under
25 || RCW 9.948.310(3) or (4) or both; and/or felony crimes of Possession
of a machine gun, possessing a stolen firearm, reckless
26 | endangerment in the first degree, theft of « firearm, unlawful
possession of a firearm in the first or second degree, and/or use
27 of a machine gun, the recommended sentencing agreements or plea
agreements are
28 .
JUDGMENT AND SENTENCE
(FELONY - PERSISTENT OFFENDER) - 3
. _ Office of Prosecuting Attorney
* : ‘945 County-City Bullding
Tacoma, Washington 98402-2171 .
Telephone: 591-7400
Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 87 of 96

.4
Jan 05 09 09:43a | Washington State Pen $095266971 _P
t uA aa, i j. tl. tet af. uA Ney I mt 7/
i
2
95-1-01997~-0
"3
C J attached { X 1 as follows:
4 - LIFE WITHOUT PAROLE
5 | 2.5 RESTITUTION: {

6 C J] Restitution will not be ordered because the felony did mot result
in injury to any person or damage to or loss of property.

7 C J Restitution should he ordered. @ hearing is set for «
. pr Extraordinary Circumstances exist that make restitution
_ 8 inappropriate. The extraordinary circumstances are set. forth in
3 Appendix 2.5. .
9
10 .
2-4 ABILITY TO PAY LEGAL FINANCIAL OBLIGATIONS: The court has
ji considered the defendant’s past, present and future ability to pay
legal financial obligations, including the defendant’s Tinancial
12 resources and the likelihood that the defendant's status will
change. The court specifically finds that the defendant has the
“13 ability ta pay:
14 C J no legal financial obligations.
eae et the following legal financial obligations:
, AS ,
AT crime victim’s compensation faes. :
16 C3 court casts (filing fee, Jury demand fee, witness costs,
: sheriff services fees, etc.) e
17 C J county or interlocal drug funds. .
{ J] court appointed attorney's feas and cost of defense.
28 C 2 fines. .
C J) other financial obligations agsessed as a result of the
19 felony conviction.
20 A notice af payroll deduction may be issued or other income—

withholding action may be taken, without further notice to the offender,
aA if a monthly court-ordered legal financial Obligation payment is not

. Paid when due and an amount equal to or greater than the amount payable
22 for one month is owed.

23 THE FINANMCZAL OPL §aarrones IMPORED ry THYS Jvoerenr SHALL BEAR INTERewT
‘wrom THRE BATES oF TRE FUDSMENT UNTIL, FAVMENT fn Pure, ar THE RATE
APSR rcapie TQ @rvruw JUDGEMENTS . Row 190.802.0890. aN AWARD oF CcoeTs on

24 APPEAL BGAINGT Tet DereNDanT MAV BE APDER TO THE TOTAL LaGcaL. PINANCTAL
SBLisaATrone, ROW LO.7z, :

2s .

26 2.7 SPECIAL FINDINGS PURSUANT To RCW 9.944.120 (PERSISTENT OFFENDER) :

ft (X] The defendant is a persistent offender who has on two separate
occasions been convicted of mast serious offenses before the

JUDGMENT AND SENTENCE /
(FELONY - PERSISTENT OFFENDER) — 4

OMce of Prosecuting Altorney
946 Caunty-City Building
Tacame, Washington 98402-2171
Talenhone: S91-7400

|

|

178
179

Jan OS 09 09: 44a Washington State Pen

Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 88 of 96
5095266371 — p.5

Lee hak ek

95-1-01997-0

commission of the currant offense, which is also a most

Serious offense, and shall be Sentenced to life without the

possibility of parole.

: (
TIT. JUDGMENT
3.1 The defendant is SUILTY of the Counts and Charges listed in
Paragraph 2,1 and Appendix 2.1.
IV. SENTENCE AND ORDER

I?t 18 ORDERED:

4.1 LEGAL FINANCIAL OBLIGATIONS. Defendant shail pay to the Clerk
of this Court; :

$ . Restitution to:

$ : Court costs (filing fee, jury -demand fee, witness
costs, sheriff service fees, etc.);

sO. O00 , Victim assessment;

$ > Fine; {€ ] VUCSA additional fine waived due to
, indigency (RCW 49 .50.430)3

$ r . Fees for court appointed attorney;

$ ’ Washington State Patrol Crime Lab costs;

& ’ Drug enforcement fund of ;
$ > Other costs for: 3
% ' TOTAL, legal financial obiigations WT including

restitution [€ J] not including restitution.

Payments shall not be less than ¢ @aromonto. Fayments shall
connenes on 18 be Se Phy IOC

{7 Restitution ordered above shall be paid jointly and severally with:

JUDGMENT AND SENTENCE
(FELONY — PERSISTENT OFFENDER) — 5
OMlee of Prosecuting Attorney
346 County-Clty Building
Tacoma, Washington 98402-2172
Telephone: 591-7400
Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 89 of 96

Jan 0S OS O09:43a Washington State Pen 5095266971 p.6
Pes heh Geek Ue et ne
1
2
. 95-1~01997-9
“3
Name Cause Number '
4
5

A
The defendant shall remain under the court's jurisdiction and the
6 supervision of the Department of Corrections for a periad up to ten
years from the date of sentence or release from confinement to assure
7 Payment of the ahove monetary obligations.

a | Any period of supervision shall he tolled during any period of time the
offender is in confinement for any reason.

CX} Bond is hereby exonerated.

YW 4.2 PERSISTENT OFFENDER CONFINEMENT: Pursuant to RCW 9.940.120, the
‘court imposes the fol lowing senteAce:

(a) CONFINEMENT: Defendant is sentenced to the following term of total
13 confinement in e Stody pf the Depa o f OST Be .
th FM NG,

commencing PC he of)
SE.

{[X] The defendant having been found to be a Persistent offender?
"45 Pursuant to RCW 9.940.120, and is sentenced ta life without the SAL
possibility of parole. on Count(s)Z, TE LE, t/

16 | .
OL months on Count No 77. EXT concurrent {C J] cansecutive

months on Count No. £ J coneurrent [ 7 cofSecutive
months on Count No. : CJ concurrent (€ j consecutive

19 { 1] This sentence shall be [ concurrent € J cansecutive with the
sentence in : : :

21 Ar Credit is given for 27S lays days served;

{C J OTHER SPECIAL CONDITIONS AND CRIME RELATED PROHIBITIONS:

26 (c) £X] HIV TESTING. The Department of Corrections shall test the
- defendant for HIV as soon as Possible and the defendant shall
“97 fully cooperate in the testing. (RCW 70.24.340)

JUDGMENT AND SENTENCE

(FELONY - PERSISTENT OFFENDER) - 6
, . Office of Prosecuting Aitornuy
946 County-City Building

‘Tacoma, Washington 9402-137]
Telephone: 91-7400

180
181

Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 90 of 96

<7
Jan OS O09 09:43a Washington State Pen 50952663971 Pe
7 Mord eehogtel Be Soa
1
2
95-1-01997-0
- 3 . .
(d) €X] DONA TESTING. The defendant shall have a blaod sample drawn:
4 for purpose of DNA identification analysis. The Department of
: Corrections shall be responsible for obtaining the Sample
3 prior to the defendant’s release fram confinement. (RCW
43.43.754)
6
q PURSUANT TO RCW 10.73.0909 AND 10.73.1006, THE DEFENDANT’S RIGHT TO FILE.
ANY KIND OF POST SENTENCE CHALLENGE TO THE CONVICTION OR THE SENTENCE
8 MAY BE LIMITED TO ONE. YEAR. (} fo
9 . ~
Date: l- 22-9lo bp Al ZK?
10 {" sup6e ‘
ul

27

28°

’ Presented by:

Appreved as to form:

herrclaR 20 >

Deput
WSB #

sds

JUDGM

LA
y Eggs tine Attirney Lawyer for Defendant
WSB dope

JAN 2 2 1996

Pierce rat Clark

By

DEPUTY

ENT AND SENTENCE

(FELONY — PERSISTENT OFFENDER) - 7

Office of Prosecuting Alttiomncy
946 County-City Building
Tacoma, Washington 98402-2171
Telephone; 591-7400
Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 91 of 96

Jan 05 09 09:43a Washington State Pen 5095266371 p-8
A Syd heb Bh cet ce
1
2 4
FINGERPRINTS
3 - -~ Oe a ocowen —
4 Right Hand
Fingerprint(s) of: DEAN ALAN ROYER, Cause #95-1-01997-0 ‘
5
é Attested by: SED Poa A CLERK
By: DEPUTY CLERK_ 12020 LC. Reana Dater_ “4-H 2-9¢
7 .
8 CERTIFICATE — aT OFFENDER IDENTIFICATION
of te — TER REE a State 1.D. #WA1%092909
Clerk of this Court, certify that .
10 the above is .a true Capy of the . Date of Birth 12/6/47
Judgment and Sentence in this
ll action on record in my office. Sex M
v Dated: . Race W
TER RIT
13 a . . GRI
. CLERK
Tn ora
Wy: nl K, tery
mg DEPUTY ZLERK OIN
16 BOA
e
i
18
19
20
” 24
22
23
24
25
||
26
““ a9 my Sits
, chile, FE
28
FINGERPRINTS
Office.of Prosecuting Atorncy
946 County-City Building
Tacoma, Washington 98¢02-2171
Trlanhane: 91-7410

182
Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 92 of 96

Jan OS O98 09:43a Washington State Pen 5095266371 P.9
Le ss ah Beek Ses .
1 ?
2
IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
3
IN AND FOR THE COUNTY OF PIERCE
4
STATE OF WASHINGTON, '
CAUSE NO. &88-1-01997-—0
5 Plointirs,

. ADVICE OF ‘COLLATERaL
7. 6 ve. ATTACK TIMMS Lins

DEAN ALAN ROYER, "JAN 2 3 1996

| Defendent.

8 Porauent te ROW 10.73.1106, you are hereby advised of the following time Limit
vagerding collateral attac ¢ -

RCW 10.738.090: . :
C1) No petition or motion for aollateral attack ona Judgment and gonmtence in a
10 oriminal case may ha filad mora than one year after tha Judgmant bacomea rinal
. Af the Judgment and santanca ia Valid on ita face and wae rendered by a2 court
of compatent Jurisdiation, :
11 (2) For the porpoaas of thia aaction, ‘“eollateral attack" meang any Form of post

. Gonviction relief other than a direct arpanl. “Callateral attack" tncludea,
a" 49 but 1a not Limitad ta. a peraonal ractraint petition, « habeag aorpud
petition, 2 motion to vacate Judgment, a mation ta withdraw guilty plea, a
motion for a nary trial, ena oa motion ta axYeeat Judgment.
13 {3)> For tha purpoges of thia gection, a Judgment hecomes final on the laat of tha
Following dates:
{a} The date 1t ia £ilad with tha alerk of the trial court:

14 (be) The date thet an eppellata court issues ite mandata digposing of a
timely direct appeal stron, the conviction; or ,
15 Ce) Tha data that the United States Suprema Court danitag o timely patition

for aertioreari to review a dacision @effirming the sonvietion on diraant
*preal, Tha filing of a motion ta reaongider denial ef certiorari dosa
16 mot prevent oa Judgment from basoming final.

‘ROW 10.73.2100 _o
17 |) the tame Jimst spectfiea in ROW 10.73.0080 does not apply to a petition of mation
that ite heaged aolely on one or mora or tha following grounda:

(1) Newly diecovered evidence, if the defendant sated with ¥oasonablea diligence in
digcavering tha avidancea and filing the petition or motion:

19 (23 The atatute that the Garendant was conviatad OF violating wea wneconstitutional
on ita face or aa applicd to the defendant “a conduct:

(3) The conviction wae bhaerred by double Jeoperdy imder Amendment Vv az the United

: Btatee Conatitution or Articla Kk, Section B Of the State Conatitution:

(4> The defendant pled not @ullty and the aevidenna introduced at trial rac

21 insufficient tao euprort tha conviction; ‘

(6) The gontancea impogad wae in eaxkcaag of the court "a Jurisdiction: aor

(4> There hee been @ aignirinant ¢hange in the law, whether gubatantiva or

22 brocedural, which 19 matertal to the conviction, gantance, or other order

government, and either the legialature naa expregaly provided that the change

23 ia the law ita to he applied retroactively, on a court, in interpreting a
a change in tha law that laoke arprees legiglativa intant reogarding ratroactiva
ri 24 application, determines that sutficiont reasong exist to rvequire rotroactiva
application of the changed. lagal atandard, .
28 I havea bean adviaed of the abova time limat ragex4ding collateral attack
arauant te atatuted,
26
RACKIPT ACKNOWLEDGED:
” [ 2 L: AK G)
pate: _f / 2 2, GG DEFENDANT: | POKA ALWY
28 oe U ‘

. Office of Prosecuting Attorncy
- . : : 946 Caunty-City Bullding
Tacama, Washington 98402-2172
ADT Trem A mT tT rest ‘ . Telephone; $91-7400

183
nt 12-3 Filed LA/OSIO9 Page 93 of 96
‘Jan os os 885 #3 ;: Qe “ove Ces AP an gees Pen SO9S2662371 9 p.10

I IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
| IN. AND FOR THE COUNTY OF PIERCE

STATE OF WASHINGTON,

fo

CAUSE NO. 95~-1-01997-0
Plaintiff,

a

J CRDER FOR BLOOD SAMPLE DRAW
5 vs. | FOR DNA IDENTIFICATION ‘

{ ANALYSIS
wn g DEAN ALAN ROYER,
7 . ,
Defendant. JAN D 5 1996
8 _
9 On the motion of the State of Washington, represented by Pierce County Deputy

10 Prosecuting Attorney WILLIAM J. HURNEY, the Court order the defendant DEAN ALAN

it ROYER, who is represented by counsel LINDA SULLIVAN, to submit to a blood draw to be
7 49 used for DNA identification analysis.

13 Pursuant to SSB No. 6729, defendant, having been convicted after July 1; 1990,

14 of:

16 || TYPE OF OFFENSE

17 { J A felony sex offenae aa defined by ROW 9.94A4.030(29)(a), °

48 | and/or

6 Det A violent offense aa defined by ROW 9.94A.030(36)(a), shall:
20
21
22

23

: 24
25
26

27

28

Le , Office of Prosecuting Attorney
. . . : 946 County-City Bullding
Tavcoms, Washington 98402-2171
ORHRR FAR RENAN NRAW — 4 : Tetenhone: 591-7400

184
Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 94 of 96

Jan OS O9 09: 44a Washington State Pen 8095266371 p.i1

WoC dk eek Eas
95-1-01997-0

2 | PLACE 70 BE TESTED

3 {[ } (Out-of-Custody) report immediately to the Pierce County Jail for
& blood sample draw; or ‘

od (In~Custody) submit to the blood sample draw by the Department of

Ss | Corrections. {
6 { 1 (In-Custody) one year or legs and submit to blood aample ar

; the Pierce County Jail. ‘ me aw by
3

—
DONE IN OPEN COURT this 2h day of Say, 19 .
he

JAN'2 2 1996

Plerca pays Clerk
DEPUTY

14 Approved as to form:
J .
7 145 wor $ _
LINDA SULLIVAN
16 |} Attorney for Defendant.((7-o0PS

17 eds , °

- Office af Prosccutiig Attorney
946 County-City Building
‘Tacoma, Washington 98402-2171

\ ORDER FOR BLOOD DRAW ~ 2 Tetcphone: 591-7400
|

185

Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 95 of 96

Jan O05 OS O09: 44a Washington State Pen 9035266371 p.1l2
i. ea OM
di “ : 34 ay
‘ f Y

/ OF"

ou

3 ' IN THE SUPERIOR COURT OF THE STATE OF WA yINgTdy,
. i. 8, 2 ,

“bp Ds

4 , IN ANDO FOR THE COUNTY OF PIERCE

5 (o
. STATE OF WASHINGTON,
: 6 CAUSE NO. 95-1-0199% 0 &
Plaintiff, se
7 WARRANT OF COMMITMENT
VS.
8 . . 1) € 3 County Jail .
DEAN ALAN ROYER, 2) EXT Dept. of Corrections
9 , 3) €£ 1 Other - Custody
Defendant. JAN 2 5.1996}
10
it THE STATE OF WASHINGTON TO THE DIRECTOR OF ADULT DETENTION OF
PIERCE COUNTY:
“78 a9 WHEREAS, Judgment has been pronounced against the defendant in the

Superior Court of the State of Washingtan for the County of Pierce,
13 that the defendant be punished as specified in the Judgment and
Sentence/Order Modi fying/Revoking Probation/Community Supervisian, a
14 || full and correct copy of which is attached hereto.

wit 27 4. YOU, THE DIRECTOR, ARE COMMANDED to receive
the defendant for classification,

16 confinement and placement as ordered in the
Judgment and Sentence. (Sentence of

17 confinement in Pierce Caunty Jail). ©

“sag f} C00 2. YOU, THE DIRECTOR, ARE COMMANDED to take and’

deliver the defendant to the proper officers

19 I of the Department of Corrections; and

20 YOU, THE PROPER OFFICERS OF THE DEPARTMENT
_. OF CORRECTIONS, ARE COMMANDED to receive the

1 . defendant for classification, canfinement
and placement as ordered in the Judgment and

22 Sentence. (Sentence of confinement in

Department of Corrections custody).

23

24

25

26

|

28

WARRANT OF COMMITMENT - 1

Office of Prosecuting Attorney
946 Covnty-City Bultaing
Tacome, Washington 98402-2172
Teteptiane: 591-7400

186
Case 3:08-cv-05642-FDB Document 12-3 Filed 01/05/09 Page 96 of 96

Jan 05 O98 09:44a Washington State Pen SO95266371 p13
i sof} Ao Sas eg ee eh
1
2
| 95-1-01997-0
wate gy
4 ‘ .
{ )] 3S. YOU, THE DIRECTOR, ARE COMMANDED to receive
§ the defendant for classification, (
confinement and placement as ordered in the
6 Judgment and Sentence. (Sentence of
. confinement or placement not covered by
7 Sectians i and 2 ahove).
8 ° ~~ .
sts [22-4 LAE)
ao 9 <
Dated: / 22 L Ye] (LE
10 “ L
11
12
B
4 | CERTIFIED COPY DELIVERED 1G SHERIFF
aw 5 | Date told Brcck Mal. geupe Deputy

17 STATE OF WASHINGTON, County of Pierce
ss: I, Ted Rutt, Clerk of the above

entitied Court, do hereby certify that
this foregoing instrument is a true and
19 correct copy of the original now on file
in my office.

20 7 IN WITNESS WHEREOF, I Kereunta set my
. hand and the Seay of Said Court this
“1 , day of BAY » 19 Gb.

Deputy

WARRANT OF COMMITMENT — 2

. Office of Prosecuting Atternoy
. . $46 County-City Butldlag
Tacoms, Washington 99402-2171
Telephone: $91-7400

187
